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                        EXHIBIT 1
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Ministry of Justice                                    [emblem]                 Registrar of Companies
                                                    State of Israel
                                               Companies Law, 5760-1999



                                  Company Incorporation Certificate
This is to certify that


                                   N.S.O. GROUP TECHNOLOGIES LTD
                                   [bilingual text]




got incorporated and registered according to the Companies Law as a Limited Liability Company


25/01/2010
10th of Sh’vat, 5770




Company no. 514395409
                                                                                     [stamp:]
                                                                                Ministry of Justice
                                                                              Registrar of Companies
                                                                             [emblem:] State of Israel
                                                                                [signature]
                                                                                Einat Messika, Adv.
                                                                                Registrar of Companies




                  [stamp:]
                    [logo]
           Corporations Authority
   A confirmation that this document has
 been signed electronically, it is a copy of
 the document (original or copy) that is in
 the file of the Corporations Authority on
           the day of the signature
               Case 4:19-cv-07123-PJH Document 1-1 Filed 10/29/19 Page 3 of 111


[emblem:] State of Israel
Ministry of Justice
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trusted digital scanning of the document found in the file, in accordance to the
inspection regulation at the Ministry of Justice.

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Ministry of Justice (institutional signature).                                     [stamp:]
                                                                                     [logo]
                                                                            Corporations Authority
                                                                    A confirmation that this document has
                                                                  been signed electronically, it is a copy of
                                                                  the document (original or copy) that is in
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                                                                            the day of the signature




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                        EXHIBIT 2
09/25/2019 - Screenshot from https://www.documentcloud.org/documents/6401851-NSO-Emails-with-DEA.html
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                        EXHIBIT 3
09/25/2019 - Screenshot from https://www.documentcloud.org/documents/6401851-NSO-Emails-with-DEA.html
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09/23/2019 - Screenshot of https://www.franciscopartners.com/news/nso-group-acquired-by-its-management
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09/23/2019 - Screenshot of https://www.franciscopartners.com/news/nso-group-acquired-by-its-management
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 [emblem:]                                            State of Israel                                                        [logo:]
 State of Israel                                    Ministry of Justice                                                      [text cut off]
                                                  Corporations Authority                                                     [barcode:] 17042-905
                                                  Registrar of Companies

                                                     Private Company Annual Report
                                   (Section 141 of the Companies Law 5759-1999 (hereinafter: “the Law”))

                           The data can be typed in or filled out in clear handwriting without using black ink.

         Company name                                    Company number                                Address of the registered office1
    NSO Group Technologies Ltd.                             514395409                            22 Galgalei Haplada, Hertsliya, Israel 4672222

                                Telephone                                                          Company Email (if any)

  The report is updated as of (state the date of signing the                           Annual meeting was conducted on the day2
      report in order to submit it to the Registrar of
                       Companies)                                                                            7.1.2019
                       [hw:] 7/1/19

                                                          Share Capital Distribution
    Total registered capital of the company                  Share name and its set value                                 Share type
                                                              (for shares with set value)
                                                               Ordinary, set value – 0.01                                 Ordinary
                       10,000                                 Ordinary A, set value – 0.01                               Ordinary A
                                                              Preferred A, set value – 0.01                              Preferred A


   Number of shares in the registered capital                 Number of allotted shares                                  Share value

                Ordinary – 548,940                                Ordinary – 185,716                                         0.01
                Ordinary A – 26,290                               Ordinary A – 8,936
               Preferred A – 424,770                             Preferred A – 295,170




                                                       Shareholders and their shares
                Shareholder name                                      ID number3                         Address (city, street, house no., zip code)
                                                                                                       22 Galgalei Haplada, Hertsliya, Israel Zip Code
            Q Cyber Technologies Ltd                                   514971522
                                                                                                                          4672222
                  Type of shares                                   Number of shares                     Unpaid amount in exchange for the shares
                    Ordinary                                          118,263
                   Ordinary A                                          8,936
                   Preferred A                                        295,170

                Shareholder name                                      ID number3                         Address (city, street, house no., zip code)
                                                                                                       22 Galgalei Haplada, Hertsliya, Israel Zip Code
          NSO Group Technologies Ltd.                                  514395409
                                                                                                                          4672222
                  Type of shares                                   Number of shares                     Unpaid amount in exchange for the shares
                    Ordinary                                           67,453



_____________________
1 Listing a P.O. Box as the company’s address is not enough.
2
  The last date on which the annual meeting was conducted, indicate below in the appropriate place whether the company is exempt from conducting
annual meetings according to Section 61 of the Law.                                                                            [stamp:]
3
  A non-holder of the Israeli ID shall indicate his passport number and the country it was issued in, and in the first report of[logo]
                                                                                                                                 this person, a copy shall
be attached, as stated in Regulation 16 of the Companies Regulations (reporting, registration details and forms), 5760-1999. If the shareholder is a
                                                                                                                      Corporations Authority
corporation, a registration number of the corporation shall be indicated, and if it is a foreign corporation, the copy of incorporation certificate and the
                                                                                                              A confirmation that this document has
required certificates as stated in Regulation 16, shall be attached in the first report of the corporation.
                                                                                                           been signed electronically, it is a copy of
                                                                                                           the document (original or copy) that is in
                                                                                                           the file of the Corporations Authority on
                                                                                                                     the day of the signature
 [emblem:] Case 4:19-cv-07123-PJHState
                                     Document
                                       of Israel 1-1 Filed 10/29/19 Page 13 of 111
                                                                          [logo:]
 State of Israel               Ministry of Justice                        Corporations Authority
                             Corporations Authority
                             Registrar of Companies


                                                      Bearer Shares for the period

* Fill out if bearer shares have been issued before 17.09.2016, and the update has not been performed as stated below:
In accordance with the Amendment no. 28 to the Companies Law 5759-1999, which came into force on 17.09.2016, bearer shares can
be no longer issued. A holder of bearer shares issued on the eve of the law coming into force shall be entitled to return the banknote to
the company, and the company shall cancel it and issue a share for him that is registered in the Registry of Shareholders of the
Company. A bearer share that is not returned as stated shall become a frozen share, as stated in Section 308 of the Law, and it shall not
grant him rights until the date stated on the share, which will be recorded in the Registry of Shareholders of the Company.

                   Total bearer shares for the period       No. of shares in each note          Note no.




                                                        Details of active directors
      Director name                       ID number                                Starting date as a director (year, month, day)
  Q Cyber Technologies Ltd                514971522                                                   19/3/2014
 Address (city, street, house no., zip code)
 22 Galgalei Haplada, Hertsliya, Israel 4672222




          Details of directors who stopped their activity (since the date of the previous annual report)

     Director name                       ID number                                End date as a director (year, month, day)

     Director name                       ID number                                End date as a director (year, month, day)

     Director name                       ID number                                End date as a director (year, month, day)

     Director name                       ID number                                End date as a director (year, month, day)

Mark the appropriate option with X:
    No change has occurred in the details that were reported regarding the foreign directors according to Regulation 16 from the mentioned
regulations.
   Change has occurred in the details that were reported regarding the foreign directors, and the documents required under Regulation 16 have been
attached to the annual report.



Authorized party to report to the registrar on behalf of the company, according to Section 39 of the Law
Filling out the details of the authorized party to report according to Section 39 in this Form will allow the party whose details are entered
here to relay updates about the company in a digital manner.
For more information, see: http://www.justice.gov.il/Units/RasutHataagidim/units/RashamHachvarot/TfasimNew/Pages/Online.aspx

                   Full name                                          ID number                               Position in the company
              [hw:] [illegible] Idisis                                032063521                                  Financial director

                                                                                                            [stamp:]
                                                                                                              [logo]
                                                                                                     Corporations Authority
                                                                                             A confirmation that this document has
                                                                                           been signed electronically, it is a copy of
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                        EXHIBIT 6
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[emblem:]                                       State of Israel                                   [logo:]
State of Israel                  Ministry of Justice – Corporations Authority               Corporations Authority
                                   Registrar of Companies and Partnerships




                               Company Incorporation Certificate
This is to certify that the company:

                                          L.E.G.D. COMPANY LTD
                                                    [bilingual text]
                                             whose number is 514971522




got incorporated and registered on 02/12/2013 - 29th of Kislev 5774,
according to the Companies Law, 5760-1999, as a Limited Liability Company.




Issued in Jerusalem on:
02/12/2013
29th of Kislev 5774




                                                                                        [signature]
                                                                                        Zohar Horan
                                                                                 Corporations Authority
                                                                         Registrar of Companies and Partnerships
                                                                                                               [stamp:]
                                                                                                          Ministry of Justice
                                                                                   [stamp:]             Registrar of Companies
                                                                                     [logo]                and Partnerships
                                                                            Corporations Authority     [emblem:]   State of Israel
                                                                    A confirmation that this document has
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                Case 4:19-cv-07123-PJH Document 1-1 Filed 10/29/19 Page 16 of 111
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Signed by
Ministry of Justice (institutional signature).                                       [stamp:]
                                                                                       [logo]
                                                                              Corporations Authority
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                                                                    been signed electronically, it is a copy of
                                                                    the document (original or copy) that is in
                                                                    the file of the Corporations Authority on
                                                                              the day of the signature




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                        EXHIBIT 7
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                          [stamp:]
[emblem:]       Document Start                State of Israel                              [logo:]
State of Israel                Ministry of Justice – Corporations Authority          Corporations Authority
                                 Registrar of Companies and Partnerships




                                Company Name Change Certificate
This is to certify that the company
L.E.G.D. COMPANY LTD
[bilingual text]
whose number is 514971522
has changed its name, and it shall be called from now on
Q CYBER TECHNOLOGIES LTD
[bilingual text]




                                                                              [stamp:]
Issued in Jerusalem on                                                [emblem:] State of Israel
                                                                        Ministry of Justice
29/05/2016
                                                                    Registrar of Companies and
21st of Iyyar, 5776
                                                                           Partnerships




                                                                            [signature]
                                                                         Eyal Globus, Adv.
                                                            Registrar of Companies and Partnerships
                                                                    Head of Corporations Authority




                                                                                           [stamp:]
                                                                                             [logo]
                                                                                    Corporations Authority
                                                                            A confirmation that this document has
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                                                                          the document (original or copy) that is in
                                                                          the file of the Corporations Authority on
Issued by Eyal Goldring                                                             the day of the signature
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                        EXHIBIT 8
    06/26/19 - web.archive.org         screenshot
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     OUR            TECHNOLOGY


     Helping Governments Maintain Public Safety
     NSO Group, a Q Cyber Technologies company, develops best-in-class technology to help government
     agencies detect and prevent a wide-range of local and global threats.


     Our products help government intelligence and law-enforcement agencies use technology to meet the
     challenges of encryption to prevent and investigate terror and crime.


     NSO technology is designed by telecommunications and intelligence experts who, positioned at the
     forefront of their fields, are dedicated to keeping pace with the ever-changing cyber world.


                    LEARN MORE
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                        EXHIBIT 9
 [emblem:]                            State
                 Case 4:19-cv-07123-PJH     of Israel 1-1 Filed 10/29/19 Page 22 [logo:]
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 State of Israel                     Ministry of Justice                         [text cut off]
                                  Corporations Authority                         [barcode:] 17903-560
                                  Registrar of Companies

                                                       Private Company Annual Report
                                    (Section 141 of the Companies Law 5759-1999 (hereinafter: “the Law”))

                           The data can be typed in or filled out in clear handwriting without using black ink.

          Company name                                     Company number                                 Address of the registered office1
      Q Cyber Technologies Ltd                                514971522                             22 Galgalei Haplada, Hertsliya, Israel 4672222

                               Telephone                                                              Company Email (if any)

  The report is updated as of (state the date of signing the                              Annual meeting was conducted on the day2
      report in order to submit it to the Registrar of
                        Companies)                                                                              7.1.2019
                       [hw:] 16/6/19

                                                            Share Capital Distribution
     Total registered capital of the company                   Share name and its set value                                  Share type
                                                                (for shares with set value)

                       100,000                                   Ordinary, set value – 0.01                                    Ordinary




   Number of shares in the registered capital                   Number of allotted shares                                    Share value

               Ordinary – 10,000,000                                 Ordinary – 100,000                                          0.01




                                                         Shareholders and their shares
                Shareholder name                                        ID number3                           Address (city, street, house no., zip code)
         OSY TECHNOLOGIES S.A.R.L.                                        B184226                                            Luxembourg
                   Type of shares                                    Number of shares                       Unpaid amount in exchange for the shares
                     Ordinary                                           100,000




                                                         Bearer Shares for the period*

* Fill out if bearer shares have been issued before 17.09.2016, and the update has not been performed as stated below:
In accordance with the Amendment no. 28 to the Companies Law 5759-1999, which came into force on 17.09.2016, bearer shares can
be no longer issued. A holder of bearer shares issued on the eve of the law coming into force shall be entitled to return the banknote to
the company, and the company shall cancel it and issue a share for him that is registered in the Registry of Shareholders of the
Company. A bearer share that is not returned as stated shall become a frozen share, as stated in Section 308 of the Law, and it shall not
grant him rights until the date stated on the share, which will be recorded in the Registry of Shareholders of the Company.

_____________________                                                                                                               [stamp:]
1 Listing a P.O. Box as the company’s address is not enough.
                                                                                                                                     [logo]
2 The last date on which the annual meeting was conducted, indicate below in the appropriate place whether the company is exempt from conducting
                                                                                                                           Corporations Authority
annual meetings according to Section 61 of the Law.
3 A non-holder of the Israeli ID shall indicate his passport number and the country it was issued in, and in the  Afirst
                                                                                                                     confirmation    that
                                                                                                                         report of this   this document
                                                                                                                                        person, a copy shallhas
                                                                                                                been  signed   electronically,
be attached, as stated in Regulation 16 of the Companies Regulations (reporting, registration details and forms), 5760-1999. If the shareholder  it is aiscopy
                                                                                                                                                           a of
                                                                                                                thecopy
corporation, a registration number of the corporation shall be indicated, and if it is a foreign corporation, the   document     (originalcertificate
                                                                                                                         of incorporation   or copy)and thatthe
                                                                                                                                                              is in
required certificates as stated in Regulation 16, shall be attached in the first report of the corporation.     the file of the Corporations Authority on
                                                                                                                            the day of the signature
 [emblem:]                            State of Israel                              [logo:]
 State of Israel Case 4:19-cv-07123-PJH
                                     Ministry of Justice1-1 Filed 10/29/19 Page 23 Corporations
                                          Document                                  of 111      Authority
                                  Corporations Authority
                                  Registrar of Companies



                   Total bearer shares for the period       No. of shares in each note          Note no.




                                                        Details of active directors
       Director name                           ID number                            Starting date as a director (year, month, day)
 OSY TECHNOLOGIES S.A.R.L.                      B184226                                                17/3/2014
 Address (city, street, house no., zip code)
 Luxembourg




          Details of directors who stopped their activity (since the date of the previous annual report)

     Director name                     ID number                                    End date as a director (year, month, day)

     Director name                     ID number                                    End date as a director (year, month, day)

     Director name                     ID number                                    End date as a director (year, month, day)

     Director name                     ID number                                    End date as a director (year, month, day)

Mark the appropriate option with X:
    No change has occurred in the details that were reported regarding the foreign directors according to Regulation 16 from the mentioned
regulations.
   Change has occurred in the details that were reported regarding the foreign directors, and the documents required under Regulation 16 have been
attached to the annual report.



Authorized party to report to the registrar on behalf of the company, according to Section 39 of the Law
Filling out the details of the authorized party to report according to Section 39 in this Form will allow the party whose details are entered
here to relay updates about the company in a digital manner.
For more information, see: http://www.justice.gov.il/Units/RasutHataagidim/units/RashamHachvarot/TfasimNew/Pages/Online.aspx

                    Full name                                         ID number                               Position in the company
                    Yifa Idisis                                       032063521                                  Financial director


Fulfillment of the instructions of Section 171 (C) of the Law
   The Board of Directors has approved the financial reports __ (mark X if done).
Fulfillment of the instructions of Section 173 of the Law – (mark the appropriate option with X)
   The financial documents have been presented at the last annual meeting as required.
  If the company is not required to conduct annual meetings according to Section 61 (A) of the Law, indicate whether the financial reports have
been sent to the shareholders according to Section 61 (A) of the Law.
  The company is not required to submit financial reports at the annual meeting, as stated in Section 172 (G) of the Law.

Controlling accountant (mark the appropriate option with X).
                                                                                                                       [stamp:]
  The company has a controlling accountant, as stated in Section 154 of the Law.
                                                                                                                         [logo]
                                                                                                                Corporations Authority
                                                                                                        A confirmation that this document has
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                   Introduction
                   Pegasus is a world-leading cyber intelligence solution that enables law enforcement and
                   intelligence agencies to remotely and covertly extract valuable intelligence from virtually any
                   mobile device. This breakthrough solution was developed by veterans of elite intelligence
                   agencies to provide governments with a way to address the new communications interception
                   challenges in today's highly dynamic cyber battlefield. By capturing new types of information
                   from mobile devices, Pegasus bridges a substantial technology gap to deliver the most
                   accurate and complete intelligence for your security operations.



                   Overcoming Smartphone Interception Challenge
                   The rapidly growing and highly dynamic mobile communications market - characterized by
                   the introduction of new devices, operating systems and applications on virtually a daily basis
                   – requires a rethinking of the traditional intelligence paradigm. These changes in the
                   communications landscape pose real challenges and obstacles that must be overcome by
                   intelligence organizations and law enforcement agencies worldwide:

                         Encryption: Extensive use of encrypted devices and applications to convey
                       messages
                        Abundance of communication applications: Chaotic market of sophisticated
                       applications, most of which are IP-based and use proprietary protocols
                        Target outside interception domain: Targets' communications are often outside the
                       organization's interception domain or otherwise inaccessible (e.g., targets are roaming,
                       face-to-face meetings, use of private networks, etc.)
                        Masking: Use of various virtual identities which are almost impossible to track and
                       trace
                        SIM replacement: Frequent replacement of SIM cards to avoid any kind of
                       interception
                        Data extraction: Most of the information is not sent over the network or shared with
                       other parties and is only available on the end-user device
                        Complex and expensive implementation: As communications become increasingly
                       complex, more network interfaces are needed. Setting up these interfaces with service
                       providers is a lengthy and expensive process, and requires regulation and
                       standardization



                   Standard Interception Solutions Are Not Enough
                   Until the above mentioned challenges are addressed and resolved, criminal and terrorist
                   targets are likely "safe" from standard and legacy interception systems, meaning that
                   valuable intelligence is being lost. These standard solutions (described in the sections below)
                   deliver only partial intelligence, leaving the organizations with substantial intelligence gaps.



                   Passive Interception
                   Passive interception requires very deep and tight relationships with local service providers
                   (cellular, Internet and PSTN providers) and traditionally has allowed for proper monitoring of
                   text messages and voice calls. However, most contemporary communications is comprised
                   of IP-based traffic, which is extremely difficult to monitor with passive interception due to its
                   use of encryption and proprietary protocols.
https://www.documentcloud.org/documents/4599753-NSO-Pegasus.html
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                   Even when this traffic is intercepted, it typically carries massive amounts of technical data
                   that is not related to the actual content and metadata being communicated. Not only does this
                   result in frustrated analysts and wasted time wading through irrelevant data, it also provides a
                   partial snapshot (at best) of the target's communications. In addition, the number of interfaces
                   required to cover the relevant service providers broadens the circle of entities exposed to
                   sensitive information and increases the chance of leakage.


                   Tactical GSM Interception
                   Tactical GSM interception solutions effectively monitor voice calls and text messages in GSM
                   networks. When advanced cellular technologies are deployed (3G and LTE networks), these
                   solutions become less efficient. In such cases, it is required to violently downgrade the target
                   to a GSM-based network, which noticeably impacts the user experience and functionality.


                   These solutions also require a well-trained field tactical team located near the monitored
                   target. Thus, in the majority of cases where the target location is unknown, these solutions
                   become irrelevant. In other cases, placing a tactical team close to the target may pose
                   serious risk both to the team and to the entire intelligence operation.


                   Malicious Software (Malware)
                   Malware presumably provides access to the target's mobile device. However, it is not
                   completely transparent and requires the target's involvement to be installed on their devices.
                   This type of engagement usually takes the form of multiple confirmations and approvals
                   before the malware is functional. Most targets are unlikely to be fooled into cooperating with
                   malware due to their high level of sensitivity for privacy in their communications.

                   In addition, such malware is likely to be vulnerable to most commercially available anti-virus
                   and anti-spyware software. As such, they leave traces and are fairly easily detected on the
                   device.
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                   Cyber Intelligence for the Mobile World
                   Pegasus is a world-leading cyber intelligence solution that enables law enforcement and
                   intelligence agencies to remotely and covertly extract valuable intelligence from virtually any
                   mobile device. This breakthrough solution was developed by veterans of elite intelligence
                   agencies to provide governments with a way to address the new communications interception
                   challenges in today's highly dynamic cyber battlefield.

                   By capturing new types of information from mobile devices, Pegasus bridges a substantial
                   technology gap to deliver the most accurate and complete intelligence for your security
                   operations. This solution is able to penetrate the market's most popular smartphones based
                   on BlackBerry, Android, iOS and Symbian operating systems.

                   Pegasus silently deploys invisible software ("agent") on the target device. This agent then
                   extracts and securely transmits the collected data for analysis. Installation is performed
                   remotely (over-the-air), does not require any action from or engagement with the target, and
                   leaves no traces whatsoever on the device.



                   Benefits of Pegasus
                   Organizations that deploy Pegasus are able to overcome the challenges mentioned above to
                   achieve unmatched mobile intelligence collection:

                        Unlimited access to target's mobile devices: Remotely and covertly collect
                       information about your target's relationships, location, phone calls, plans and
                       activities – whenever and wherever they are
                        Intercept calls: Transparently monitor voice and VoIP calls in real-time
                        Bridge intelligence gaps: Collect unique and new types of information (e.g., contacts,
                       files, environmental wiretap, passwords, etc.) to deliver the most accurate and complete
                       intelligence
                        Handle encrypted content and devices: Overcome encryption, SSL, proprietary
                       protocols and any hurdle introduced by the complex communications world
                        Application monitoring: Monitor a multitude of applications including Skype,
                       WhatsApp, Viber, Facebook and Blackberry Messenger (BBM)
                        Pinpoint targets: Track targets and get accurate positioning information using GPS
                        Service provider independence: No cooperation with local Mobile Network Operators
                       (MNO) is needed
                        Discover virtual identities: Constantly monitor the device without worrying about
                       frequent switching of virtual identities and replacement of SIM cards
                        Avoid unnecessary risks: Eliminate the need for physical proximity to the target or
                       device at any phase



                   Technology Highlights
                   The Pegasus solution utilizes cutting-edge technology specially developed by veterans of
                   intelligence and law enforcement agencies. It offers a rich set of advanced features and
                   sophisticated intelligence collection capabilities not available in standard interception
                   solutions:

                        Penetrates Android, BlackBerry, iOS and Symbian based devices
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                


                       
                        Extracts contacts, messages, emails, photos, files, locations, passwords, processes
                       list and more
                       Accesses password-protected devices
                       Totally transparent to the target
                       Leaves no trace on the device
                       Minimal battery, memory and data consumption
                       Self-destruct mechanism in case of exposure risk
                       Retrieves any file from the device for deeper analysis


                   High Level Architecture
                   The Pegasus system is designed in layers. Each layer has its own responsibility forming
                   together a comprehensive cyber intelligence collection and analysis solution.

                   The main layers and building blocks of the systems are:

                       Installations: The Installation layer is in charge of issuing new agent installations,
                      upgrading and uninstalling existing agents.
                       Data Collection: The Data Collection layer is in charge of collecting the data from the
                      installed device. Pegasus offers comprehensive and complete intelligence by employing
                      four collection methods:
                           – Data Extraction: Extraction of the entire data that exists on the device upon
                           agent installation
                           – Passive Monitoring: Monitor new arrival data to the device
                           – Active Collection: Activate the camera, microphone, GPS and other elements to
                           collect real-time data
                           – Event-based Collection: Define scenarios that automatically triggers specific
                           data collection
                       Data Transmission: The Data Transmission layer is in charge of transmitting the
                      collected data back to the command and control servers, using the most efficient and
                      safe way.
                       Presentation & Analysis: The Presentation & Analysis component is a User Interface
                      that is in charge of presenting the collected data to the operators and analysts, turning
                      the data into actionable intelligence. This is done using the following modules:

                           – Real-Time Monitoring: Presents real-time collected data from specific or multiple
                           targets. This module is highly important when dealing with sensitive targets or during
                           operational activities, where each piece of information that arrives is crucial for
                           decision making.
                           – Offline Analysis: Advanced queries mechanism that allows the analysts to query
                           and retrieve any piece of information that was collected. The advanced mechanism
                           provides tools to find hidden connections and information.
                           – Geo-based Analysis: Presents the collected data on a map and conduct
                           geo-based queries.
                           – Rules & Alerts: Define rules that trigger alerts based on specific data that arrives or
                           event that occurred.
                       Administration: The administration component is in charge of managing the entire
                      system permission, security and health:




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                          – Permission: The permissions mechanism allows the system administrator to
                          manage the different users of the system. Provide each one of them the right
                          access level only to the data they are allowed to. This allows to define groups in the
                          organization that handle only one or more topics and other groups which handles
                          different topics.
                          – Security: The security module monitors the system security level, making sure
                          the collected data is inserted to the system database clean and safe for future
                          review.
                          – Health: The health component of the Pegasus solution monitor the status of all
                          components making sure everything is working smoothly. It monitors the
                          communication between the different parts, the system performance, the storage
                          availability and alerts if something is malfunction.
                    The system layers and components are shown in Figure 1.


                   Figure 1: Pegasus High Level Architecture
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                       Agent Installation
                       In order to start collecting data from your target’s smartphone, a software based component
                       ("Agent") must be remotely and covertly installed on their device.



                       Agent Purpose
                       The “Agent”, a software based component, resides on the end point devices of the monitored
                       targets and its purpose is to collect the data it was configured to. The agent is supported on
                       the most popular operating systems: BlackBerry, Android, iOS (iPhone) and Symbian based
                       devices.

                       Each agent is independent and is configured to collect different information from the device
                       and to transmit it via specific channels in defined timeframes. The data is sent back to the
                       Pegasus servers in a hidden, compressed and encrypted manner.

                       The agent continuously collects the information from the device and will transmit it once
                       reliable internet connection becomes available.

                       Communications encryption, the use of many applications and other communications
                       concealing methods are no longer relevant when an agent is installed on the device.



                       Agent Installation Vectors
                       Injecting and installing an agent on the device is the most sensitive and important phase of
                       intelligence operation conducted on the target device. Each installation has to be carefully
                       planned to ensure it is successful. The Pegasus system supports various installation
                       methods. The installation methods variety answers the different operational scenarios which
                       are unique to each customer, resulting in the most comprehensive and flexible solution.
                       Following are the supported installation vectors:


                       Remote Installation (range free):
                          Over-the-Air (OTA): A push message is remotely and covertly sent to the mobile
                              device. This message triggers the device to download and install the agent on the
                              device. During the entire installation process no cooperation or engagement of the target
                              is required (e.g., clicking a link, opening a message) and no indication appears on the
                              device. The installation is totally silent and invisible and cannot be prevented by the
                              target. This is NSO uniqueness, which significantly differentiates the Pegasus solution
                              from any other solution available in the market.

                               Enhanced Social Engineering Message (ESEM): In cases where OTA installation
                              method is inapplicable1, the system operator can choose to send a regular text message
                              (SMS) or an email, luring the target to open it. Single click, either planned or
                              unintentional, on the link will result in hidden agent installation. The installation is entirely
                              concealed and although the target clicked the link they will not be aware that software is
                              being installed on their device.

                              The chances that the target will click the link are totally dependent on the level of




                1 e.g., some devices do not support it; some service providers block push messages; target phone number in unknown.
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                           content credibility. The Pegasus solution provides a wide range of tools to compose
                           a tailored and innocent message to lure the target to open the message.

                   NOTE: Both OTA and ESEM methods require only a phone number or an email address that
                   is used by the target. Nothing else is needed in order to accomplish a successful installation
                   of the Pegasus agent on the device.


                   Close to the target (range limited):
                       Tactical Network Element: The Pegasus agent can be silently injected once the
                       number is acquired using tactical network element such as Base Transceiver Station
                       (BTS). The Pegasus solution leverages the capabilities of such tactical tools to perform a
                       remote injection and installation of the agent. Taking a position in the area of the target
                       is, in most cases, sufficient to accomplish the phone number acquisition. Once the
                       number is available, the installation is done remotely.
                        Physical: When physical access to the device is an option, the Pegasus agent can be
                       manually injected and installed in less than five minutes. After agent installation, data
                       extraction and future data monitoring is done remotely, providing the same features of
                       any other installation method.

                   NOTE: Tactical and Physical installations are usually used where no target phone number or
                   email address are available.




                   Agent Installation Flow
                   Remote agent installation flow is shown in Figure 2.


                   Figure 2: Agent Installation Flow




                   In order to initiate a new installation, the operator of the Pegasus system should only insert
                   the target phone number. The rest is done automatically by the system, resulting in most
                   cases with an agent installed on the target device.
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                   Agent installation initiation is shown in Figure 3.

                   Figure 3: Agent Installation Initiation




                   Supported Operating Systems & Devices




                   NOTE: Android-based devices are often added to the supported list. An updated list can be
                   sent upon customer request.


                   Installation Failure
                   The installation can sometimes fail due to following reasons:

                       1. Unsupported device: the target device is not supported by the system (which appears
                       above).

                       2. Unsupported OS: the operating system of the target device is not supported by the
                       system.
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                        3. Unsupported browser: the default browser of the device was previously replaced by
                        the target. Installation from browsers other than the device default (and also Chrome for
                        Android based devices) is not supported by the system.
                   In any of the above mentioned cases, if the operator initiates a remote installation to a
                   non-supported device, operating system or browser, the injection will fail and the installation
                   will be aborted. In these cases the process is finished with an open browser on the target
                   device pointing and showing the URL page which was defined by the operator prior the
                   installation.
                   The device, OS and browser are identified by the system using their HTTP user agent. If by
                   any reason the user agent was manipulated by the target, the system might fail to correctly
                   identify the device and OS and provide the wrong installation payload. In such case, the
                   injection will fail and the installation will be aborted, showing again the above mentioned URL
                   page.
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                   Data Collection
                   Upon successful agent installation, a wide range of data is monitored and collected from the
                   device:

                        Textual: Textual information includes text messages (SMS), Emails, calendar
                       records, call history, instant messaging, contacts list, browsing history and more.
                       Textual information is usually structured and small in size, therefore easier to
                       transmit and analyze.
                        Audio: Audio information includes intercepted calls, environmental sounds
                       (microphone recording) and other audio recorded files.
                        Visual: Visual information includes camera snapshots, photos retrieval and screen
                       capture.
                        Files: Each mobile device contains hundreds of files, some bear invaluable
                       intelligence, such as databases, documents, videos and more.
                        Location: On-going monitoring of the device location (Cell-ID and GPS).
                    The variety of data that is collected by the Pegasus system is shown in Figure
                   4.

                   Figure 4: Collected Data




                   The data collection is divided into three levels:

                        Initial data extraction
                        Passive monitoring
                        Active collection
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                   Initial Data Extraction
                   Once the agent is successfully injected and installed on the device, the following data that
                   resides and exists on the device can be extracted and sent to the command and control
                   center:

                        SMS records
                        Contacts details
                        Call history (call log)
                        Calendar records
                        Emails
                        Instant Messaging
                        Browsing history
                   As opposed to other intelligence collection solutions which provide only future monitoring of
                   partial communications, Pegasus allows the extraction of all existing data on the device. As a
                   result the organization benefits from accessing historical data about the target, which assists
                   in building a comprehensive and accurate intelligence picture.


                   NOTE: Initial data extraction is an option and not a must. If the organization is not allowed to
                   access historical data of the target, such option can be disabled and only new arrival data will be
                   monitored by the agent.


                   Passive Monitoring
                   From the point the agent was successfully installed it keeps monitoring the device and
                   retrieves any new record that becomes available in real-time (or at specific condition if
                   configured differently). Below is the full list of data that is monitored by the agent:

                        SMS records
                        Contacts details
                        Call history (call log)
                        Calendar records
                        Emails
                        Instant Messaging
                        Browsing history
                        Location tracking (Cell-ID based)


                   Active Collection
                   In addition to passive monitoring, upon successful agent installation a wide set of active
                   collection features becomes available. Active collection refers to active requests sent by the
                   operator to collect specific information from the installed device. These set of features are
                   called active, as they carry their collection upon explicit request of the operator. Active
                   collection allows the operator to perform real-time actions on the target device, retrieving
                   unique information from the device and from the surrounding area of the target, including:

                        Location tracking (GPS based)
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                         Voice calls interception
                         File retrieval
                         Environmental sound recording (microphone recording)
                         Photo taking
                         Screen capturing
                    Active collection differentiates Pegasus from any other intelligence collection solution, as the
                    operator controls the information that is collected. Instead of just waiting for information to
                    arrive, hoping this is the information you were looking for, the operator actively retrieves
                    important information from the device, getting the exact information he was looking for.



                    Description of Collected Data
                    The different types of data available for extraction, passive monitoring and active collection
                    with their respective features are listed in Table 1.

                    Table 1: Collection Features Description




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                 2 For active collection features, initial data is not extracted before a request is initiated by the user.
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                   The above mentioned data is the potential data that could be collected by an agent. The
                   agent will collect the data that is applicable and available on the device. If one or more of the
                   above mentioned applications does not exist and/or removed from the device, the agent will
                   operate in the same manner. It will collect the data from the rest of the services and
                   applications which are in use in the device. Also, all the collected data from the removed
                   application will still be saved on the servers or at the agent, if it was not yet transmitted back
                   to the servers.

                   In addition, the above mentioned data that is collected by the agent covers the most popular
                   applications used worldwide. Since applications popularity differs from country to country, we
                   understands that data extraction and monitoring of other applications will be required as time
                   evolves and new applications are adopted by targets. When such requirement is raised, we
                   can fairly easily extract the important data from virtually any application upon customer
                   demand and release it as a new release that will become available to the customer.
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                    Collection Buffer
                    The installed agent monitors the data from the device and transmits it to the servers. If
                    transmission is not possible3 the agent will collect the new available information and transmits
                    it when connection will become available. The collected data is stored in a hidden and
                    encrypted buffer. This buffer is set to reach no more than 5% of the free space available on
                    the device. For example – if the monitored device has 1GB of free space, the buffer can store
                    up to 50MB. In case the buffer has reached its limit, the oldest data is deleted and new data
                    is stored (FIFO). Once the data has been transmitted, the buffer content is totally deleted.
                    .




                3 No data channels are available; Device is roaming; Device is shut down.
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                   Data Transmission
                   By default, the collected data (initial data extraction, passive monitoring and active collection)
                   is sent back to the command and control center in real-time. The data is sent via data
                   channels, where Wi-Fi is the preferred connection to use when it is available. In other cases
                   data is transmitted via cellular data channels (GPRS, 3G and LTE). Extra thought was put
                   into compression methods and focusing on textual content transmission whenever possible.
                   The data footprints are very small and usually take only few hundred bytes. This is to make
                   sure that the collected data is easily transmitted, ensuring minimal impact on the device and
                   on the target cellular data plan.

                   If data channels are not available, the agent will collect the information from the device and
                   store it in a dedicated buffer, as explained in Data Collection section.

                   Data transmission is automatically ceased in the following scenarios:

                        Low battery: When the device battery level is below the defined threshold (5%) all
                       data transmission processes are immediately ceased until the device is recharged.
                        Roaming device: When the device is roaming, cellular data channels become pricy,
                       thus data transmission is done only via Wi-Fi. If Wi-Fi does not exist, transmission will
                       be ceased.
                   When no data channels are available, and no indication for communication is coming back
                   from the device, the user can request the device will communicate and/or send some crucial
                   data using text messages (SMS).


                    CAUTION: Communication and/or data transmission via SMS may incur costs by the target
                    and appear in his billing report thus should be used sparingly.
                   The communication between the agent and the central servers is indirect (through
                   anonymizing network), so trace back to the origin is non-feasible.
                   The Pegasus system data transmission process is shown in Figure 5.

                   Figure 5: Data Transmission Process




                   The channels and scenarios for transmitting the collected data are shown in Figure 6.

                   Figure 6: Data Transmission Scenarios
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                   Data Transmission Security
                   All connections between the agents and the servers are encrypted with strong algorithms and
                   are mutually authenticated. While data encryption is probably the most urging issue, extra
                   care was given to ensure minimal data, battery and memory are consumed within the agents
                   requirements. This is meant to make sure that no concerns are raised by the target.

                   Detecting an operating agent by the target is almost impossible. The Pegasus agent is
                   installed at the kernel level of the device, well concealed and is untraceable by antivirus and
                   antispy software.

                   The transmitted data is encrypted with symmetric encryption AES 128-bit.



                   Pegasus Anonymizing Transmission Network
                   Agent transparency and source security are the guiding principles of the Pegasus solution.
                   To assure that trace back to the operating organization is impossible, the Pegasus
                   Anonymizing Transmission Network (PATN), a network of anonymizers is deployed to serve
                   each customer. The PATN nodes are spread in different locations around the world, allowing
                   agent connections to be redirected through different paths prior to reaching the Pegasus
                   servers. This ensures that the identities of both communicating parties are highly obscured.
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                   Data Presentation & Analysis
                   Successful data collection from hundreds of targets and devices generates massive amounts
                   of data for visualization, presentation and analysis. The system provides a set of operational
                   tools to help the organization to transform data into actionable intelligence. This is to view,
                   sort, filter, query and analyze the collected data. The tools include:

                        Geographical analysis: Track target's real-time and historical location, view several
                       targets on map
                        Rules and alerts: Define rules to generate alerts upon important data arrival
                        Favorites: Mark important and favorite events for subsequent review and deeper
                       analysis
                        Intelligence dashboard: View highlights and statistics of target's activities
                        Entity management: Manage targets by groups of interest (e.g., drugs, terror, serious
                       crime, location, etc.)
                        Timeline analysis: Review and analyze collected data from a particular time frame
                        Advanced search: Conduct search for terms, names, code words and numbers to
                       retrieve specific information
                   The collected data is organized by groups of interest (e.g., drugs group A, terror group B,
                   etc.) and each group consists of targets. Each target consists of several devices which some
                   have installed agents on them.

                   The collected data is displayed in an easy-to-use intuitive user interface and when applicable
                   emulates popular display of common applications. The intuitive user interface is designed for
                   a day-to-day work. Operators can easily customize the system to fit their preferred working
                   methods, define rules and alerts for specific topics of interest.

                   The operator can choose to view the entire collected data from specific target or only specific
                   type of information such as location information, calendar record, emails or instant messages.


                   Pegasus calendar monitoring screen is shown in Figure 7.

                   Figure 7: Calendar Monitoring
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                   Pegasus call log and call interception screen is shown in Figure 8.

                   Figure 8: Call Log & Call Interception




                   Pegasus location tracking screen is shown in Figure 9.

                   Figure 9: Location Tracking
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                   The presentation fields of the collected data are listed in Table 2.

                   Table 2: Presentation of Collected Data
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                   Rules & Alerts
                   The Rules & Alerts module in the system alerts when important event takes place. Rules
                   must be defined in advance and they help the operators to review and take actions in
                   real-time, for example:

                       Geo-fencing:
                             o Access hot zone - Alert when target reached an important location
                             o Leave hot zone - Alert when target left a certain location
                          Geo-fence alerts are based on a perimeter around a certain location, where the
                          operator defines the size of the perimeter.
                       Meeting detection: Alert when two targets meet (share the same location)
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                       
                        Connection detection:
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                              o Alert when a message is sent from/to a specific number
                              o Alert when a phone call is performed from/to a specific number
                       Content detection: Alert when a defined word/term/code word is used in a message
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                   Data Export
                  The system is designed as an end-to-end system, providing its users with collection and
                  analysis tools. However, we understands that there are advanced analysis capabilities and
                   data fusion requirements from other sources, therefore the system allows the exporting of the
                  collected information and seamless integration with 3rd party backend or analysis systems
                  available.
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                   Agent Maintenance
                   Once agent is installed on a certain device, it has to be maintained in order to support new
                   features and change its settings and configurations or to be uninstalled when it is no longer
                   providing valuable intelligence to the organization.



                   Agent Upgrade
                   When agents' updates are released they become available to install. These new agents are
                   now ready for installation on new targets' devices or as upgrades for existing agents installed
                   on target's devices. These updates provide new functionalities, bug fixing, support for new
                   services or improve the agents overall behavior. Such updates are crucial to keep the agent
                   functional and operational in the endless progress of the communication world and especially
                   the smartphone arena.

                   There are two types of agent upgrades:

                        Optional upgrade: agent upgrade is not mandatory by the system. The user decides
                       when, if at all, to upgrade the agent.
                        Mandatory upgrade: agent upgrade is mandatory by the system. The supervisor
                       must upgrade the agent otherwise no new information will be monitored from the
                       device.
                   Upgrade sometimes requires an installation of a new agent and sometimes just a small
                   update of the existing agent. In both cases the user is the only one to decide when to conduct
                   the upgrade, and therefore should plan this accordingly.

                   Once the command for upgrade was sent by the user, the process should take only few
                   minutes. The process might take longer if the device is turned off or has bad data connection.
                   In either case, the upgrade will be accomplished once a decent data connection becomes
                   available.



                   Agent Settings
                   Agent settings are set for the first time during its installation. From this point, these settings
                   serve the agent, but can always be changed if required. The settings include the IP address
                   for transmitting the collected data, the way commands are sent to the agent, the time until the
                   agent is automatically uninstall itself (see self-destruct mechanism for more details) and
                   more.



                   Agent Uninstall
                   When the intelligence operation is done or in case where the target is no longer with interest
                   to the organization, the software based component ("Agent") on the target's device can be
                   removed and uninstalled. Uninstall is quick, requires a single user request and has no to
                   minimal effect on the target device. The user issues a request for agent uninstall which is
                   sent to the device.
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                     Once agent is uninstalled from a certain device it leaves no traces whatsoever or indications
                     it was ever existed there4. As long as the agent is operational on the device and a connection
                     exists between him and the servers it can be easily and remotely uninstalled.
                     .

                     Uninstall can always be done remotely no matter what was the method used for installation.
                     Physical uninstall is also an option, if needed.

                     Uninstalling an agent does not mean losing the entire collected data – the entire data that
                     was collected during the time that the agent was installed on the device will be kept in the
                     servers for future analysis.


                     Self-Destruct Mechanism
                     The Pegasus system contains self-destruct mechanism for the installed agents. In general,
                     we understand that it is more important that the source will not be exposed and the target will
                     suspect nothing than keeping the agent alive and working. The mechanism is activated in the
                     following scenarios:


                           Risk of exposure: In cases where a great probability of exposing the agent exists, a
                         self-destruct mechanism is automatically being activated and the agent is uninstalled.
                         Agent can be once again installed at a later time.
                          Agent is not responding: In cases where the agent is not responding and did not
                         communicate with the servers for a long time5, the agent will automatically uninstall
                         itself to prevent being exposed or misused.




                 4 In some cases, uninstall can result in device reboot. If reboot takes place, it happens once agent removal is done. The
                 device comes up clean with no agent installed.
                 5 The default time is 60 days, but can be reconfigured for any period of time required
https://www.documentcloud.org/documents/4599753-NSO-Pegasus.html
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                   Solution Architecture
                   The Pegasus system’s major architectural components are shown in Figure 10.

                   Figure 10: Solution Architecture




                   Customer Site
                   NSO is responsible to deploy and configure the Pegasus hardware and software at the
                   customer premises, making sure the system is working and functioning properly. Below are
                   the main components installed at the customer site:


                   WEB Servers
                   Residing at the customer's premises, the servers are responsible for the following:

                        Agent installation and monitoring
                        Agent maintenance: Remotely control, configure and upgrade installed agents
                        Data transmission: Receive the collected data transmitted from the installed agents
                        Serve the operators' terminals

                   Communications Module
                   The communications module allows interconnectivity and internet connection to the servers.


                   Cellular Communication Module
                   The cellular communication module enables remote installation of the Pegasus agent to the
                   target device using cellular modems and/or SMS gateways.
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                   Permission Module
                   The Pegasus permission management module defines and controls the features and
                   available content allowed for each user based on their role, rank and hierarchy.


                   Data Storage
                   The collected data that was extracted and monitored by the agents is stored on an external
                   storage device. The data is well backed-up and with full resiliency and redundancy to prevent
                   failures and downtime.


                   Servers Security
                   All the servers reside inside the customer's trusted network, behind any security measures it
                   may deploy as well as security measures that we supply specifically for the system.


                   Hardware
                   The system standard hardware is deployed on several servers connected together on couple
                   of racks. The equipment takes care of advanced load balancing, content compression,
                   connection management, encryption, advanced routing, and highly configurable server health
                   monitoring.


                   Operator Consoles
                   The operator's end-point terminals (PC) are the main tool which the operators activate the
                   Pegasus system, initiate installations and commands, and view the collected data.


                   Pegasus Application
                   The Pegasus application is the user interface that is installed on the operator terminal. It
                   provides the operators with range of tools to view, sort, filter, manage and alert to analyze the
                   large amount of data collected from the targets' agents.



                   Public Networks
                   Apart from local hardware and software installation at the customer premises, the Pegasus
                   system does not require any physical interface with the local mobile network operators.
                   However, since agent installations and data are transferred over the public networks, we
                   makes sure it is transferred in the most efficient and secured way, all the way back to the
                   customer servers:


                   Anonymizing Network
                   Pegasus Anonymizing Transmission Network (PATN) is built from anonymizing connectivity
                   nodes which are spread in different locations around the world, allowing agent connections to
                   be directed through different paths prior to reaching the Pegasus servers. The anonymized
                   nodes serve only one customer and can be set up by the customer if required.

                   See more information in Pegasus Anonymizing Transmission Network section.
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                   Target Devices
                   The above mentioned architecture allows the operators to issue new installations, extract,
                   monitor and actively collect data from targets’ devices. See more details in Supported
                   Operating Systems & Devices.


                   NOTE: The Pegasus is an intelligence mission-critical system, therefore it is fully redundant
                   to avoid malfunctions and failures. The system handles large amounts of data and traffic 24
                   hours a day and is scalable to support customer growth and future requirements.
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                   Solution Hardware
                   The hardware specifications for operating the Pegasus system depends on the number of
                   concurrent installed agents, the number of working stations, the amount of data stored and
                   for how long should it be stored.

                   All the necessary hardware is supplied with the system upon deployment and may require
                   local customization that has to be handled by the customer based on we directions. If
                   required, hardware can be purchased by the customer based on the specifications provided
                   by we.



                   Operators Terminals
                   The operator terminals are standard desktop PCs, with the following specifications:

                        Processor: Core i5
                        Memory: 3GB RAM
                        Hard Drive: 320GB
                        Operating System: Windows 7


                   System Hardware
                   To fully support the system infrastructure, the following hardware is required:

                        Two units of 42U cabinet
                        Networking hardware
                        10TB of storage
                        5 standard servers
                        UPS
                        Cellular modems and SIM cards
                    The system hardware scheme is shown in Figure 11.
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                   Figure 11: Pegasus Hardware
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                   System Setup and Training
                   We are responsible for the system setup and training before its hand-over to the customer.



                   System Prerequisites
                   Successful installation of the Pegasus system requires the following preparations of the
                   servers' room:

                        Sufficient room to contain two 42U racks cabinet, 5x5x2.5m (LxWxH)
                        Air conditioned (18°C) room
                        Access restriction
                        Routing from end-point terminals to servers room
                        Reliable cellular network reception (at least -95 dBm)
                        2 x Electrical outlets (20A) per rack
                        2 x Symmetric ATM lines from different ISP's. Each line with a bandwidth of 10MB
                       containing 8 external static IP addresses:
                                o ISP #1: Fiber optic-based network
                                o ISP #2: Ethernet category-7 cable-based network
                           The mission-critical system requires two parallel networks to ensure system
                           resilience and downtime is kept to an absolute minimum.

                        2 x E1 PRI connections, each contains 10 extensions (two different service providers is
                       recommended)
                        2 x anonymous SIM cards for each local Mobile Network Operator
                        3rd party services registration as required


                   System Setup
                        The solution will be deployed at the customer site by we personnel
                        Deployment duration usually requires 10-15 working weeks
                        Operating environment prerequisites must be met
                        System setup includes hardware and software installation, and in addition integration
                       to local environment and systems
                        Support and adaptations to the different local device firmware versions


                   Training
                   Upon system installation, we personnel will conduct full training sessions. Training can take
                   place onsite or in any other location required by the customer, including we headquarters.
                   Training session includes the following:

                        Basic system usage
                        System architecture
                        Advanced system usage and roles
https://www.documentcloud.org/documents/4599753-NSO-Pegasus.html
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                         
                          Real-world simulation exercises
                    The recommended number of attendees is with respect to the number of installed operator
                    consoles.



                    High Level Deployment Plan
                    The process of adapting, installing and testing the system in a new customer site in listed in
                    Table 3.

                    Table 3: Pegasus Deployment Plan




                    Phase 1 – Preparations:
                          Requirements for an Acceptance Test Procedure (ATP) are defined together with the
                         customer
                          Hardware and software acquisition and customization to answer customer
                         requirements and needs
                          When required, the Pegasus system is integrated with local infrastructures and
                         systems
                          System adaptations to the local mobile networks

                    Phase 2 – Implementation:
                       System testing
                       Hardware installation
                       System adaptations to local device firmware versions
                     
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                   Phase 3 – Training and Completion:
                      Detailed system training, real-life scenarios practicing and simulation
                      Customer ATP as defined during phase 1


                   System Acceptance Test (SAT)
                   We have gained substantial experience in installing and implementing the Pegasus system.
                   The following acceptance test plan verifies that the system works as required and validates
                   that the correct functionality has been delivered. It describes the scope of the work to be
                   performed and the approach taken to execute the proper tests to validate that the system
                   functions as mutually agreed with the customer.

                   The tests are divided into 3 stages:

                          Functionality tests
                          Network and providers tests
                          Customer tailor specific tests
                   An official system hand-over from we to the customer is done once the system has been
                   deployed, tested and demonstrated.
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                   Maintenance, Support and Upgrades
                   We provides, as default, one year of maintenance, support and upgrades services. These
                   services include:



                   Maintenance and Support
                   We provides maintenance services and three-tier level support that includes:

                        Tier-1: Standard system operations problems
                               o Email and phone support
                        Tier-2: Proactive resolving of technical problems
                               o Dedicated engineers will inspect, examine and resolve common technical
                               issues, putting their best efforts
                               o Remote assistance using remote desktop software and a Virtual Private
                               Network (VPN) where requested
                        Tier-3: Bug fixing and system updates of substantial system malfunctions
                        Phone support: In addition to the above mentioned, we provide phone and email
                       support to any question and problem that is raised.
                   In addition, the customer will be able to add the following support:

                        Planned or emergency onsite assistance
                        Health monitoring system


                   Upgrades
                   We have releases major upgrades to the Pegasus system few times a year. Such upgrades
                   usually include:

                        New features
                        New devices/operating system support
                        Tailored features based on customer requirements
                        Bugs fix
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                       EXHIBIT 11
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                         i,,                                                               AGREEMENT
                                    This Agreement (the "Agreement") is entered into on Decernber I7'h, 2015 (the "Effective Date")
                                    between Infraloks Development Limited, a company incorporated.urder the.laws of the Republic of
                                    Ghana (company registration number CA-66,115), having its registered offices at HSE number 1 plot 50,
                                    7'' Avenue Extension, North Ridge ACCRA, P.o. Box 30712 KrA, ACCRA (the "Company") and tJre
                                    National Communication Authorify of the Republic of Ghana (the "End-User").
                        rl
                                    Whereas, the Company is engaged in tbe business of resellilg and supplying cyber intelligence
                                    solutions developed, integrated and supplied by the NSO Group Technologies Ltd. (company regisfration
                        il          number 514395409), an Israeli Company, having its registered offices at 9 Hamada St., Herzliya, Israel
                                    (tie "System Provider") which has developed the System (as defined below); and
                                    'Whereas, the End-User is interested to purchase from the Company a License (as defined below) to
                    il              use the System (as defined below), and obtain services related to it, soleiy for the use of the End-User as
                                    further set forth herein, and the Company has agreed to provide a License to use the System and related
                                   services to the End-User; and
                   'ii             Whereas, tlie parties wish to set forth the terms under which such sale and purchase shall be made.
                                   Now, therefore, in consideration of the foregoing premises and the mutual covenants herein contained,
                                   and for other good and yaluable consideration, the parties agree as follows:
                    l,l
                                   1.        Definitions and Exhibits
                                             1.1.        In this Agreemen! unless the context otherwise requires, terms defined in the preamble
                    il                                   and the recitals shall have the same meaning when used elsewhere in this Agreement and
                                                         the following terms shall have the meanings ascribed thereto below:

                                                         "Agreement" has the meaning ascribed to it in the preamble.
                   i1
                                                     .   "Approval" has the meaning ascribed to it in Section 5.1.
                                                         "Bu-siness Day" rneans a day (other than a Friday, Saturday or Sunday) on which banks
                   tl                                    are generally open in Israel and in the Republic of Ghana for normal business.

                                                         "Certificate" has the meaning ascribed to it in Section 5.1   ,



                   il                                "Commissioning Notice" has the meaning ascribed to it in Exhibit B.
                                                     "Company" has the meaning ascribed to it in the preamble.
                   I                                 "Confidential Informatiotr" means any information provided by the Company to the
                                                     and/or the End-User.

                                                     "Deployment" has the meaning ascribed to it in Exhibit A.
                   il                                "Effective Date" has the meaning ascribed to it in the preamble.

               ;l                                   "Etrd-{Jser" has the meaning ascribed to it in tbe preamble.
               il                                   "X'irst fnstallment" has the meaning ascribed to it in Exhibit B.
                                                    "Force Majeure" has the meaning ascribed to it in Section 14.
               il                                   "Hardware Equipment" has the meaning ascribed to it in Exhibit A.
I
                                                    "fiVlOD'means the Israeli Ministry of Defense,
               il                                   "License" has the meaning ascribed to it in Section 2.1.
I

I                                                   "Reseller" N/A.
t


                                                    " Reseller Representative"
              it                                                                    N/A.
                                                    "Reseller Appointment Letter" N/A.
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                                                                      "Reseller Appointment Letter" N/A,
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                                  ri                                 "End-User Responsibilities" has the meaning ascribed to it in Section 4.
                                  1",,1


                                                                     "Services" has the meaning ascribed to it in Exhibit A.
                                  rl                                 "SLAU has the meaning ascribed to in Section 6.2
                                  ii
                                                                     "support Period" has the meaning ascribed to it in Section 6.1.
                                                                     "Support Period Consideration" has the meaning ascribed to it in Exhibit B
                                                                     "support Services" has the meaning ascribed to it in Section 6.
                                                                  . "System" has the meaning ascribed to it in Exhibit A.
                                                                    "system Considerafion" has the meaning ascribed to it in Exhibit B.
                              i:
                                                          '         "system Provider" has the meaning ascribed to it at the preamble.
                              il                                    "Training" has the meaning ascribed to it in.Exhibit A.
                                                                    "'Warranfi/" has the meaning ascribed to it in Exhibit A.
                             i{
                             tl                                     "Warrant5r Period" has the meaning ascribed to it in Exhibit A.

                             't
                                                          1.2. The following are the exhibits in this Agreement;
                             t.l
                             ri                                     Exhibit A - Description of System and Services
                                                                    Exhibit A- I - Features and Capabilities
                             ii
            I                il
                             rl                                     Exhibit A-2 - List of Hardware Equipment and Software
                                                                   Exhibit B - Consideration

                          llii
                                                                   Exhibit C - Installation Requirements
                                                                   Exhibit D - Service Level Agreement
                         i
                                                 2       Provision of License and Services.
                         I
                         j

                                                         2-1. Subject to the terms of this Agreement and the payment of the System Consideration in
                                                                   full, the System Provider shall provide the End-User a limited, exclusive, non-
                                                                   transferable, non.pledgeable and non-assignabte license to use the System solely for the
                         ll                                        End-User's internal use, and for the purpose that it is intended for (the "License"),
                                                         2.2. Subject to provisions of Sections 2.3 and 5.2 below, within one-hundred (100) Business
                         rl                                       Days following the occurrenoe of the later of (i) receipt by the System Provider of the
                                                                  Approval, (ii) the completion of the Due-Diligence Process, and (iii) the receipt by the
        t
                                                                  Company of the First Installmen! in full, the System Provider shall complete the

                         r                                        Deployment and shall conduot the Training.
                                                        2.3. The provision of the Systern, the License and the Services by the System Provider in
    I
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                        i                                     .
                                                                  accordance with the time schedule set forth in Section 2.2 above and the performance by
                                                                  the Company of all its obligations under this Agteement is conditioned upon (i) the
                                                                  fulfillment by the End-User of all of the End-User Responsibilities when due, and (ii) the
    i
                                                                  actual receipt by the Company of each payment of the System Consideration rvhen due,
                                                                  in tull.
    i
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                                                                  It is hereby clarified that the Company shall not be held responsible or liable for any
    t                                                             delay in the provis.ion of the System, the License and/orthe Services, if such delay was
                        il                                        due to any miss-performance or delay in the fulfillment of any of the End-User
                                                                  Responsibilities and/or payment obligations and/or due to a delay in the performance or
                                                                  achievement of the pre-requisite conditions set fbrth in Section 5 below. In the event of a
                                                                  delay in the performance of any of rhe End-User Responsibilities and/or payment
                        it                                        ubl.igul,ious uul/ur [hu purlunrrullue ur uchieventeut of the pre requisitc conditions set


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                                                                             forth in Section 5 below, the Company's obligations shall be postponed by such number
                              ,t
                              rl                                             of days equal to number of days by which the time schedule was delayed due to acts or
                 .il
                              l,           )                                 omissions caused by the End-User.
             t.
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             i;l
                                                                   2.4. If any sum payable pursuant to this Agreement shall not have been paid to the Company
             ji,                                                             by its due date, then, without prejudice to any other right or remedy available to the
                                                                            Company in accordance with the terms of this Agreement or by law, the End-User shail
                                                                            pay interest thereon at a daily rate of 0.04yo, accumulated on a daily basis, in respect of
                          ir                                                the period starting on the due date of the delayed payment and ending on the date of the
                          ilt;
                                                                            actual payment. In addition, the Company reserves the right to suspend contractual
                                                                            performance or the use of the System or the Services until the End-User has made
                                                                            payment of the overdue amount together with interest that has accrued thereupon, in full.
                                       I

                                       l




                                                                   2.5, So long as the System Consideration is not received by the Company, in full, and so long
                                                                            as the Company has not provided the Commissioning Notice, the End-User shall not be
                         il
                         lt
                                                                            entitled to use the System and no license to use the System shall be deemed granted.
                                                        J          Consideration; Payment Terms
                                   I



                                   I
                                                               3.1   .     In consideration for the provision of the License, the System and the Services, the End-
                                                                           User shall pay the Company the System Consideration 6s set forth in Exhibit B.
                                                               3.2. The System Consideration shall be paid by the End-User to the Company in instaliments
                                                                           as set forth in Exhibit B.
                      il                                       3.3. The System Consideration, the Support Period Consideration and any other payments
                     I                                                     made to the Company under this Agreement are exciusive of all state, provincial,
                     I
                     ,                                                     municipal or other government, excise, use, sales, VAT or iike taxes, tariffs, duties or
                                                                           surcharges, now in force or as may be enacted in the future, which shall be bome by the
                                                                           Company, provided, however that the Company shall bear all income taxes imposed on
                     li
                                                                           the Company in connection with this Agreement. Each payment under this Agreement
                     i1
                                                                           shall be paid by the End-User against an invoice to be issued by the Company.
                                                              3.4. Any and all amounts paid to the Company under this Agreement are non-refundable, and
                                                                          may not be claimed or reclaimed by the End-User.
                                                        4.    The End-User's Reqponsibilitie!. The End-User undertakes to perform all of the following
                                                              obligations in a timely manner (the "End-User Responsibilities"):
                 ii                                           4.1. fulfillment of all of the technical and installation requirements listed in Exhibit C at the
                                                                          End-User's site, prior to the delivery of the Hardware Equipment;
                                                              4.2. obtainment and maintenance of all permits and approvals required to be obtained from
                                                                          any regulatory and governmental authority relating.to the End-User, under any and all
                                                                          applicable legal requirements for the performance of this Agreement;
             I


             I
                                                             4.3. delivery of the Certificate to the Company;
                                                             4.4, provision of any and all applicable information and documents required by the System
                                                                         Provider for the performance of the Due-Diligence Process, on a timely manner; and
             tl
                                                             4.5. provision of any and all additional required conditions to enable the performance of the
                                                                         Company's obligations under this Agreernent when due, including without limitation,
            I
            It
                                                                         release of the Hardware Equipment from custom (if required) and assuring availability of
                                                                         the End-User's personnel for participation in the Training.
                                                    5        Pre-Conditions,
        l
            [l                                               5.1         The provision of the License. the System and the Scrviccs and the performance by the
                                                                         Company of its obligations under this Agreement arc subject to (i) the receipt by the
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                                                                         Syntcrl Proyidcr of thc originol certificote indicating the ldentity nf tht: Enrl-Ilscr. irt
            il                                                           accordance with the requirements of the IMOD (the "Certificate"), (ii) the receipt by the
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                                                                                          and the Services as set forth herein (the "Approval"), (iii) the completion of a due-
                      ijl                                                                 diligence process to the Company by the System Provider (the "Due-Diligence
                                                                                          Process").
                                                                                 5.2. For the avoidance of any doubt, no products, Iicenses, equipment or services shall be
                                                                                          provided by the Company under this Agreement until the Certificate is delivered to the
                                                                                          System Provider and the Approval is obtained. In the event that the Certificate is not
                                                  I
                                                                                          received by the System Provider andJor the Approvai is not obtained within six (6)
                                     !j                                                  months as ofthe date hereof, or in the event that the System Provider receives, earlier, a
                                                                                         formal notice from the IMOD that the application for the Approval is denied, or in the
                                                                                         event that the Approval is canceled, terminated or suspended, the Company shall have
                                  tlI
                                              ,
                                                                                         the right to terminate this Agreement by providing the End-User a written notice, and
                                  ll                                                     such termination shall not be considered a breach of this Agreement, and the Company
                                                                                         shal1 not be held responsible or liable in connection with such tennination. Fulther, the
                                                                                         Company hereby acknowledges and agrees that the actual performance of the activities
                                  lr
                                  ll                                                    contemplated herein is conditioned upon the completion of the Due Diligence Process to
                                                                                        the System Provider's fuli satisfaction which otherwise may terminate this Agreement at
                       Itl                                                              its sole discretion, by providing the Company a written notice, and such termination shall
                                tlir                                                    not be considered a breach of this Agreemen! and the Company. shall not be held
                                                                                        responsible or liable in connection with such termination.
                                it                                      6.      Technical Support and Maintenance Services. F ollowing the expiration of the Waranty Period,
                                lr
                                li                                              the End-User shall be entitled to purchase technical support and maintenance services (the
                                                                                "support Services") under the following terms:
                             rl                                                 6.1. The End-User may purchase Support Services for periods of twelve (12) month each
                             ti11
                                                                                        (each such period - a "Support Period").

                            rl                                                 6.2. The Support Services shall be provided in accordance with the System Provide/s
                            ir
                            I
                                                                                        standard services level agreement, as may be amended from time to time. A copy of the
                            i,
                                                                                        System Provider's current service level agreement is aftached hereto as Exhibit D (the
                            il                                                          'sLA").
                            ,lii
                            i,l                                                6,3. The consideration for the Support Services for each Support Period and the payment
                                                                                       terms of such consideration are as set forth in Exhibit B.
                        i1                                             7       Additional Remedy. tn the event a breach has occurred, in addition to the Company's rights and
                        :i
                        il                                                     remedies under applicable law and this Agreemen! the Company may suspend or cancel the
                                                                               License or the provision of any ofthe Services, or take such actions necessary to prevent access
                     ! ,--' l
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                                                                               to the System unti-l such time as it has received confirmation to its satisfaction that such breach
                       it                                                      was cured. The Company shall not be liable towards the End-User for any claim, losses or
                                                                               damages whatsoever related to its decision to suspend or cancel the provision of any of the
                       il                                                      Services, the License, or to prevent access to the System under this section.
                      1l
                      ]l                                            8          Intellectual Property Rights. All the rights pertaining to the System, the Services and the License,
                                                                               including, but not limited to, all patents, trademarks, copyrights, service matks, trade names,
                      l
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                      ll
                                                                               technology, know how, moral rights and trade secrets, al1 applications for any of the foregoing,
                                                                               and all permits, grants and licenses or other rights relating to the System and the Services are and
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                                                                               shall remain the sole properry of the System Provider,
                     ,.1                                                      The End-User hereby acknowledges that, other than as set forth in Section 2.1, no title to the
                     1t                                                       System (including the software embedded therein) is transferred to it under this Agreement or in
                     rl
                                                                              connection hereoi and it is not granted any right in the System, including without limitation,
    I
                     it1l                                                     intellectual property right'
                                                                                                                                direcrlv eirher by rhems
                                                                                                                                         either hv themselves or through any olrher
i
                     il                                                       The End-User shall not, whether directiy or indirectly
                                                                              person, reproduce, modify, disassemble or reverse-engineer the System (including any software
I

it                   r-1
                                                                              contained therein).
                     I,I
                     rl                                            9          Conficlentiality. The Encl-User undertakes to keep thc Confidcntial information in strict
I                                                                             confldence ond not to disclose it to any third partv withor.it thc prinr writtcn connent of the
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                )                 )

                                                            System Provider; provided, however, that the End-User may disclose such information to its
                                                            respective employees and consultants having a need to know such information in order to carry
                                                            out the provisions of this Agxeement. The End-User warrants that any such employees and
                                                            consultants to which Confidential Information is disclosed will be bound and will abide by terms
                              :.i                          no less onerous than those contained herein and shall be responsible for any breach of
                              ijti                         confidentiality by such employees and consultants.
                                                           Foliowing the termination of this Agreement for any reason, or upon the Company's first written
                                                           demand, the End-User shall retum to the Company atl Confidential Information, including all
                                                           records, products and samples received, and any copies thereof whether in its possession or
                                                           under its controi, and shall erase all electronic records thereof, and shall so certify to the
                                                           Company in writing
                                                  10.     Limited Warrarfy It should be noted that the System Provider does not warrant that the License,
                                                          the System and the Services provided hereunder will be uninterrupted, error-free, or completely
                                                          secure. The System Provider does not make, and hereby disclaims, any and all implied
                             ii                           warranties, including impiied warranties of merchantability, fitness for a particular purpose ald
                                                          non-infringement. Except as otherwise expressly set forth in this Agreement (including any
                                                          exhibits), the System Provider does not make and hereby disclaim's all express warranties. All
                             ii                           products, the System and Services provided pursuant to this Agreement are provided or
                                                          performed on an "as is", "as available" basis.

                             il                  ii       Limitation of Liabilitv. In no event shall the Company be liable for any consequential, incidental,
                                                          special, indirect or exemplary damages whatsoever, including lost profits, loss of business, Ioss
                                                          of revenues, or any other type of damages, whether arising under tort, contract or law. The
                             1t                           Company's aggregate liability under this Agreement shall be limited to the consideration actually
            I                {l                           received by the Company under this Agreement.
                                              1.)         Governing Law and Jurisdiction. This Agreement shall be governed, construed and enforced in
                                                          accordance with the laws of the Republic of Ghana.
                             ii                          Any controversy or claim arising under, out of or in connection with this Agreemenl its validity,
                                                         its i-nterpretation, its execution or any breach or claimed breach thereof, are hereby submitted to
                                                         the sole and exclusive jurisdiction of the competent courts in the Republic of Ghana.
                         il                  t3          Assignment. This Agreement and the rights and obligations hereunder are not ffansferable,
                                                         pledgeable or assignable, by either party without the prior written consent of the other party.
                         tl                              However, the System Provider may assign its rights and obiigations to a parent, affiliate or
                                                         subsidiary company and, in the case of a merger or acquisition, to a successor company upon
                                                         notice to the Company, and provided that the rights of the Company shall not be derogated
                                                         pursuant to such assignment.
                         it
                                             14          Force Maieure. The System Provider and the Company shall not be liable for any failure to
                                                         perform its obligations under this Agreement due to any action beyond its conffol, including
                         i]                              without limiktion: (i) acts of God, such as fires, floods, electrical storms, unusualiy severe
        I                                                weather and natural catastrophes; (ii) civil disturbances, such as strikes and riots; (iii) acts of
                                                        aggression, such as explosions, wars, and terrorism; (iv) acts of government, including, without
                                                        limitation, the actions of regulatory bodies which significantly inhibits or prohibits the System
                         [l                             Provider and the Company from performing its obligations under this Agreement (each, a "Force
    l


    i                                                   Majeure").
                                                        In the event of a Force Majeure, the performance of the Company's obligations shall be
    I
                        il                              suspended dwing the period of existence of such Force Majeure as well as the period reasonably
    I                                                   required thereafter to resume the performance of the obligation.

                        i]                  15          No Third Party Beneficiary, This Agreement shall not confer any rights or remedies upon any
I
                                                        person other than the parties to this Agreement and their respective successors and permitted
I
i                                                       assigns.
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                        tl                  16.         Comnlete Agreement. This Agreement ancl the Exhihjts hereto constitute the full and entire
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                                                        uurderstanding and agreement befween the parties with regard to the subject malters hereof and
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                        ll                  Agreement 10012015                                Page 5 of46                                              U'
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                                       Case 4:19-cv-07123-PJH Document 1-1 Filed 10/29/19 Page 72 of 111
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                                               thereof and any other written or oral agreernent relating to the subject matter hereof existing
                                               between the parties is expressly canceled.
                            i:
                                       17      Representations. N/A.

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                                       18.    No Set-Off. Not*ithstanding any right available to the End-User under law, the End-User shall
                                              not be entitled to set-off any amounts due to the Company under this Agreement'
                            ']
                                       19     Severabitity. Should any court of competent jurisdiction declare any term of this Agreement void
                                              or unenforceable, such declaration shail have no effect on the remaining terms hereof'
                        ii            20      Interpretation. The titles and headings of the various sections and paragraphs in this Agreement
                        ,l                    are intended solely for reference and are not intended for any other purpose whatsoever or to
                        :itl                  explain, modify, or place any construction on any of the provisions of this Agreement.
                        i\
                                      21      No Waiver. The failure of either parfy to enforce any rights granted hereunder or to take action
                                                                                                                                        by that
                        :t
                        ll                    Auiott tf," other parly in the evenl of any breach hereunder shall not be deemed a waiver
                        ll                    puny as to subsiquent enforcement of rights or subsequent actions in the event of future
                                              breaches.
                      il
                      lt             '22      Notices. All notices and demands hereunder shall be in writing and shall be served by personal
                      li
                      li                      r"rui." o. by mail at the address of the .receiving party set forth in this Agreement (or at such
                                              different address as may be designated by such party by written notice to the other pa(y). A11
                     i)                       notices or demands by mail shail be certified or registered mail, return receipt requested, by
                     it
                     rl                      nationally-recognized private express courier, or sent by electronic transmission, with
                                             confirmation received, to the telecopy numbered specified below, and shall be deemed complete
                     il,                     upon receipt,
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                          ,t                fn Witness Whereof, the parties hereto have executed this Agreement the day and year first above
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                                                       Development Limited                          National Com munication Agency
                        r'i                 By:                                                     By:
                        ij                  Mr. George Dgreffippong                                 Mr. William Tevie
                                                        ,//
                     t'l                    Position: Di'rector, Business Development               Position: Director General
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                                                                                                  Exhibit A
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                                                                                   Description of the System and Services
                       I         i_:


                                 (i
                                 ;i                The System;
                                 ii
                                                   The System Provider's Pegasus system is comprised of the
                                                                                                               following (the ,,system,,):
                                                   (a) the features and capabilities detailed in the table atlached
                             ij                        respect fo the Republic of Ghana mobile numbers (residing
                                                                                                                    hereto as Exhibit A-i. operational with
                                                                                                                      in the Republic of Ghana), using the
                                                       System Provider's supported devices running the Sysiem Provider's
                                                                                                                                     certified versions of
                            ii
                            l(
                                                       Blackberry, Android and ios operating systems,incluaing zs
                                                                                                                      concurrent targets; and
                                                  (b) the hardware equipment (the "flardware Equipment") and software
                                                                                                                               which are required for the
                                                      installation of the System, including s confolitaiions, as listed
                                                                                                                        in &dibit A-2 attachedherero.
                           ti
                                                  The Services:

                     'llii                       The services related to the system include the following (the ,'services,'):
                                                                                                                                .
                                                 (a) Depl6yment of the System at the End-User's site for use with respect
                                                                                                                          to the Republic of Ghana
                                                     mobile numbers residing in the Republic of Ghana (as set forifr in
                                                                                                                            Section'(a) above) (the
                      ll                             "Deployment,');
                                                 (b) Two (2) week training course and one (1) week on-site handover, which
                                                                                                                                    shalt be held in English
                      ilii                           (the "Training,,);
                                                 (c) 12 months warranty (the "Warranty Period") commencing at the date
                                                                                                                                    of the provision of the
                                                     Commissioning Notice, which shall be provided in accordanc-e with
                     il                                                                                                    the Company,s SLA.
                     i1                             No warranty is provided by the System Provider with respect to the hardware
                                                                                                                                    components of the
                                                    System' To the extent permissible, Hardware Equipment warranty
                                                                                                                       will be provided ty tne System
                     illi
                                                    Provider back to back with the warranty provided by the suppliers of
                                                                                                                         the Hardware Equipment.


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                                                          Exhib it A-1
                                                     Features and Capabilities




        Supported OS:


        ios                  7.x-9"1                     Safari
                                                         . Clicking on a link will
                                                                                     always result in Safari browser
        Android              4.x-5                       . Native browser (Webkit
                                                                                      based)
                                                         . Chrome versions lg up
                                                                                     to 45 (excl. 1g.0.1025.166)
                                                         . Focus mainly on Samsung
                                                                                        Galaxy devices
        BlackBerry           5.x - 7.1
                                                         Native browser (w           based)
                                                                                                                                L\
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                   Insta llation:


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                     Remote Installation       Push Message       Infection is done by silently         . Works on most BlackBerry
                                                                                                                                   devices          V         V
,,l..ll
                                                                  pushing an installation to the        . Works on a variety of
                                                                                                                               Android
l:....:r
                                                                  device.                               devices (OS a.x). Depends on rhe
                                                                  This rnethod does not require the     local ROM settings

                                               Crafted Message An innocent message is sent to
                                                                                              the                                                   \/
                                               (SMS, Email and target device which
:,,.r:                                                                             contains text
                                               other 3rd party and link.
 .'.'.'                                        applications)      The message content and link lure
:::t:,,                                                           the target to click (only once) and
                                                                  browse to an innocent website.
                                                                  Clicking the link triggers a silent
                                                                                                                                                                                       c(
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                                                                  installation which runs in the                                                                                       (F
                   Infcction Assisting Tools   MMS                Reveal the target device and OS       This fearure may be blocked by the
                                               Fingerprint        version by sending an MMS to the                                                            V   V
..:..ti
                                                                                                        local mobile network operator.
                                                                  device.                               Feature implementation subjects to
 ii ti;                                                           No user interactiorl engagement       site survey results.
                                                                  or message opening is required to     Note: MMS content appears on the
                                                                  receive the device
.l:r,
                                                                                                              device.
                                               Sender ID          Set an alphanumeric sender            This feature may be blocked by the
.'..                                           Spoofing           identification for SMS and MMS.                                                   V         V
                                                                                                        local mobile network operator.
.:::::.
                                                                                                        Feature implementation subjects to
                                                                                                        site stwey results.
                                               Control tink URL   Set any DNS to be used as the
                                                                  installation link
                                                                                                        Domains to be defined and purchased         \/        V   V
                                                                                                          the customer
 ......                                                                                                                                                                           rc
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                       Agent Sun'ivability              Pcrsistency      The installed collection tool            Device reboot refers to
.
                                                                         survives device reboot.                  . Device restart
                                                                                                                  . Device tum off
                                                                                                                  . Device battery drain
                                                        Factory Reset    The agent collection tool endures
                                                                         device factory reset.
                                                                                                                                                                                                               V
                                                                                                                  Factory reset, also known as m€$ter
                                                                                                                  reset, restores the device original
                                                                                                                  manufacturer settings resulting in
                                                                                    :,.i
                                                                                                                  perrnanent erasing all ofthe
                                                                                                                  informafion stored on the device.
                                                        Blocking OS      The agent collection tool blocks         The device acts like it has the latest
                                                                                                                                                                                                               V
                                                        Upgrade          the user from upgrading the OS
                                                                         version.
                                                                                                                  OS version or is not allowed to
                                                                                                                  perform off-the-air OS upgrade.
                                                                                                                                                                                                                                              G
                                                                                                                  Note: Physical OS upgrade is still                                                                                          (,"
                         Agent Uninstall                Uninstall        Permanently remove the agent Done remotely without any us€r                                                                                                          ):
                                                                                                                                                                                           V                              V
                                                                         collection tool




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          Collection:
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2                                                                                                                                                         BlackBerrv       :Android   ios
            f{istorical                Contact details                    Extracts all contacts available on
                  Data                                                                                             Extraction is done for all available       V
e                                                                         the device including their                                                                          V       V
g          Extraction:                                                                                             (non-empty) fields.
            Extract all
           existing data               SMS                                Extracts all incoming and
v,
m                                                                         outgoing text messages (sMS)                                                        V                       V
             from the
7
s            device.                                                            the device
E         Gain access to               iMessage
(t                                                                        Extracts all incoming and                Messages sent only between iOS
          historical data.
                                                                          outgoing iMessages from the              devices
6r                                                                        device
-
                                       [,mails                            Extracts all emails that exist on
=                                                                                                                  Extracts only from the device slock
                                                                                                                                                                              V                                      4
                                                                          the device                               application and Gmail application.
g                                                                                                                  Emails are presented in HTML                                                                      N
c                                                                                                                  format.                                                                                           (r
                                       Call Log                           Extracts the history of all
H
                                                                          incoming/outgoing calls made                                                                        V       V
=,
                                                                          to/from the device
                                       WhatsApp Call Log                  Extracts the history of all
                                                                          incoming/outgoing calls made                                                                        V
                                                                          to/fiom the device using
                                       Skype Call Log                     Extracts the history          of all                                                                        V
                                                                          incoming/outgoing calls         made
                                                                          to/from the device



          I Due
                  to some limitations and restrictions of the operating
                                                                          system, certain devices might not support all listed features.                                                                      +
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                             Calendar                                Extracts all calendar records that
                                                                     exist on the device                                                                            V
                             Browsing History                        Extract the entire list of browsed   Extracts only from the device native
                                                                     websites that exists on the device   browser      ication
                             BBM     l.zqLnDur   r Jr urcns€Illlel   Extracts all existing incoming       Extracts only instant messages (text)        V
                             w                                       and outgoing instant messages
                                                                     from the device, including                                                        V                   V
                             Viber                                   personal and group chat
                             S

                             Facebook                                                                                                                                                 t-
                                                                                                                                                                    V      V          TF
                             Kakao Talk
                                                                                                                                                                    V
                                                                                                                                                                                      ;
                             Line
                                                                                                                                                       V
                             Odnoklassniki
                                                                                                                                                                   V
                             WeChat
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                             fa
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                             VKontakte
                                                                                                                                                                    V      V
                             NIail.Ru
                Data         Contact details                                                                                                                               V
                                                                     Monitors addition, deletion and
             Monitoriug:                                             editin of contacts on the device                                                               V
              Real-time
            monitor ofnelv   SMS                                     Monitors incoming and outgoing
               data that                                             text mes
             arrives/sent    iMessage
                                                                                                                                                                                 _S
                                                                     Monitors incoming and outgoing       Messages sent only between iOS
             to/from rhe
                                                                                                          devices
                                                                                                                                                                                 P
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              device                                                              . , : ..   ,
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                          Emails
                                                        Monitors incoming and outgoing           Monitors only the device stock
                                                        emails
                                                                                                 application and Gmail application.
                                                                                                 Emails are presented in gfUI.
                                                                                                 format.
                          Call Log
                                                        Monitors incoming and outgoing
                                                        call records
                          WhatsApp Call Log
                                                        Monitors incoming and outgoing
                                                        call records of        WhatsApp                                                           V
                                                                 on
                          Skype CatI Log
                                                        Monitors lncomlng and outgoi ng
                                                        call records of              ication
                          Calendar                                                                                                                                       t-?
                                                        Mon itors addifi on and editing of                                                                               T,N
                                                        calendar records on the device                                                            V        V
                          Browsing History
                                                        Monitors new browsed websites
                                                                                                 Monitors only the device nati ve
                                                                                                                                                                         -u\l
                          BBM
                                                        Monitors incoming and outgoing
                                                                                                 browser
                                                                                                 I_vlon]tors only instant messages
                                                                                                                                                                         \li
                                                        lnstant messages, including (text). Indication
                                                        personal and group chat                        for file transier
                          Vilrcr                                                                 appear and their retrieval is possible                v
                                                                                                 using file retrieval feature.

                                                                                                                                                  V    V
                          Iiakao Talk                                                                                                             \/   V
                                                    f                                                                                             V    V
                          Line                                                                                                                         V
                          Odnoklass nihi                                                                                                    V     V                    _s
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                          WeChat
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                                 Tango
                                 VKontakte                                                                                                               V

                                 Mail.Ru                                                                                                       V         V

                                 sures                                                                                                         V

                                 USSD                                                                                                                    V
                                                                 Monitors incoming network
                                                                 messages from the device                                                                V
                                 Call       recording    (call   Record incoming and outgoing
                                 interception)                                                Calls are recorded locally on the            V
                                                                 voice calls made to/from thi device and then sent                             V         V
                                                                                                                   to the system
                                                                 device                              servers.
                                 Device Information              Monitors general details about
                                                                 the device, network and                                                                 V

                                 Cell-ID Location
                                                                 connection

                                                                 Monitors the device cell_ID
                                                                                                                                                             6
                                                                 within every connection to the                                                          V    bJ
                                                                 command and control servers                                                                 -q-
                                 Keystroke logging               Monitors keystroke typing by the    Helps monitoring texting in
                                                                 regular keyboard                    unsupported applications and even
                                                                                                     usernames and passwords for
                                                                                                     sensitive accounts.
       Active Data               Front Camera Snapshot           Take a snapshot using the device    No indication appears on the device
       Collection:                                                                                                                             V         V
                                                                 front camera                        and flash is never used.
      User raluest's
        real-:ime                Back Camera Snapshot            Take a snapshot using the device    No indication appears on the device
        actions on                                               rear cantera                        and flash is never used.
       target device             Screenshot capturing            Capture a screenshot of the
                                                                                                                                                              \
                                                                                                                                           V
                                                                 device                                                                                      -E
                                 File System listing             Retrieve a full list of files and
                                                                                                                                           V
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                                                                folder in target device                                                      --BlackBerrv.       ,:.iOS



                            File retrieval                      Retrieve any file from the target    File retrieval is allowed from the            V         V     V
                                                                device including photos,             device intemal storage and SD card.
                                                                docum       audio and video
                            GPS Location                        Locate device using the device
                                                                                                                                                   V               V
                                                                GPS
                            Room Tap (environmental Tum on the microphone and                        Tuming on the microphone is done
                            sound recording)        listen in real-time to the                                                                                     V
                                                                                                     by issuing an incoming silent call to
                                                                surrounding sounds of the the device. No indication of the
                                                                device. The surrounding sounds recording or the silent call
                                                                                                                             appears
                                                                are recorded and saved for later on the device at any point.
                                                                                                                                 The
                                                                playback and analysis.           quality of the recording depends on
                                                                                                     the device's microphone sensitivity,                                                            t-
                                                                                                     the surrounding noise and the device
                                                                                                     model.
                                                                                                                                                                                                     :
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                Data Transmission:

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                         Data                                                                                                                      .il.+u r.!Jrtr
                                         GPRSruTMS/LTE        Transmit collected data       uslng   Data is sent in very small packets. This
                     Transmission:                            cellular data channels                                                           V        V
                    Channels used to                                                                has very small impact on target's data
                      exfiltratethe
                co[ected da-a back       wi-ri                Transmit collected data using Wi_Fi   Has no impact on target's data plan at
                 to the command                                                                                                                         V           V
                                                                                                    all.
                and control servers




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       Presentation:


       Contact details                         Entire values stored in the contact entry including
                                                                                                   photo if   . Grid
                                               available                                                      . Contact card with the entire
                                                                                                                                               details



       SMS                                     . Type (SMS /USSD)
                                                                                                              . Grid
                                               . Direction (incoming,
                                                                      outgoing)
                                               . Contact name
       USSD                                    . Phone number
                                               . Message content
       iMessage                                . Date & Time                                                                                                       G
       Emails                                  . From
                                               .To
                                                                                                              . Grid                                                tA
                                               .CC
                                                                                                              .Iull HTML presentation (emulates popular
                                                                                                                                                          email
                                               . Subject                                                      clients)
                                               . Folder
                                               . Account
                                               . Message content
                                               . Date & Time

       Call                                    . Direction
       (Cellular catts, WhatsOOO, a,Olll*                                                                     . Grid
                                               . Contact name
                                               . Phone number
                                               . Duration
                                               . Date & Time

       Calendar                                . Meeting subject
                                                                                                              . Grid
                                                                                                                                                                   -b
                                               . Location
                                               ' Event date and start time
                                                                                                              . Monthly calendar view (emulates
                                                                                                              clients)
                                                                                                                                                popular calendar   +
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     Browsing History          . Website name (as saved by the targe!
                                                                      usually the default   . List
                               website name)
                               . Website URL address
     BBM                       . Type of application
                                                                                            . Grid
                               'Chat participants Qrlames & phones)                         . Conversation rnode
                               . Conversation content
     Viber                     . Date & Time
                                . Attachments metadata (without
                                                                  the attachment)

     Facebook
     Kakao Talk
     T
     Line
     Odnoklass niki
                                                                                                                                                                   In
     WeChat
                                                                                                                                                                   ?r
     Tango                                                                                                                                                         {-
     \rKontakte
     Mail.Ru
     sures

     Call recording             . Direction                                                 . Grid
     (call interception)        . Contact name                                              . Playback interface
                                . Phone number
                                . Duration
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      Deyice and Network Information   . Battery level                                    . Dashboard
                                       . Last location
                                       . Connection type (e.g., 3G, WiFi)
                                       . MSISDN
                                       .IMEI
                                       .IMSI
                                       . Device Manufacturer
                                       . Device model
                                       . Operating System version
                                       . Installation type (remote, physical or
                                                                                other)
                                       . Installation date
                                       . Last communication time
                                       . Next communication expected
                                       . Device current country
                                       . Device home country
                                       . Serving network
                                       . Home serving network



      GPS/Cell-ID Location             . Data source (GPS/Cell-ID)                        . Grid
                                       . I,atitude
                                       . Longitude                                        'Map:
                                                                                            - On map display
                                       . Enter Tirne & Date
                                                                                            - Full trail
                                       . Leave Time & Date
                                                                                            - Type of locarion data (GpS or Cell-ID based)

                                       Text               the    board                    . List
      Front Camera                     . Date & Time                                      . Grid
                                       . Photo                                            . Photo viewer
      Back Camera
                                       . Source ofphoto
      Screenshot
                                                                                                                                                                       --s
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         File System listing             . List of folders (tuee)
                                                                                   . Grid
                                         . List of files (grid):
                                                                                   . Tree view
                                           - Filename
         File retrievel                    - Modified date
                                           - File size
                                           - Retrieval status

         Room Tap (environmental sound   . Recorded audio
         recording)                                                                . Grid
                                         . Recording Date & Time
                                                                                   . Playback interface
                                         . Duration




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           Rules & AIerLs:


           Geo Fence - Acr:ess hotspot       Aiert when target entered an important area               Geo-fence alerts are based on a perimeter around a
                                                                                                       certain location, where the operator defines the size
                                                                                                                                                             of
                                                                                                       the perimeter.
           Meeting detection                 Alert when two targets meet                               The alert occurs in two target are at the same perimeter
                                                                                                       as defined by the user. The alert wifi take place
                                                                                                                                                         also if
                                                                                                       targets visited the same location in different times.

           Connectior detection              Alert when a message is sent from/to a specific number    Alert when target is corresponding     ith a certain num ber
                                                                                                       AS defined       the user.
                                             Alert when a phone call is performed from/to a specific   Alert when target conducts/receives a phone call to/from
                                             number
                                                                                                       a certain number as defined bv the user.


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                                                                                       Exh$[4-2
                                                                      List of Hardware Equi.pment and Software

          The system Prorider shatl supply the fottowing
                                                           ha.dware equipment and software, or similar, to
                                                                                                             enable the commissioning of the system.
          Disclaimer: rhis List may change per Network\Regulation\System\country
                                                                                          feature support changes.



          PowerEdge R7:0xd Server
                                                                                                              Dell               I                R73oXI)
                                  3.4GHa2 0M cache,e. 60 Gr/s
          i;r;| ilr"# ii;iffi;,                                    epr,rurbo, Hr,6 c/ I 2r ( I 3 s w)
          R730/xd PCIe Riser 2, Center
          R730ixd PCIe Riser 1, Right
          PowerEdge R730xd Shipping EMEA1
          (English/French/German/Spani sh,/Russi anlFlebrew)
          Bezel
          Chassis with up to 24,2.5,, Hard Drives
          DIMM Blanks for System with 2 processors
          Performance Optimized
                                                                                                                                                                             t;f
          2133MT/s RDILIMs
          ! I8GB RDIlvIIvI,2133MT/s, Dual Rank, x8 Data Width
          2 X Star-dard H:atsink for powerEdge R730/R730xd
          Upgrade to Two Intel Xeon E5_Z6a{ fi 3.4GH2,20M
                                                           Cache,9.60GT/s
                                                                                                                                                                             h
          QPI,Turbo,HT,r'C/l 2T (1 3 5W)
                    Enterprise, integrated Dell Remote Access controrler,
          iD,RACS                                                            Enterprise
          2 X 300G8 t5K RpM SAS 6Gbps 2.5in Hot_plug                '
                                                     Hard Orive,i:C
          16 X 500c8 7.:,K R'M_NLSAS6Gbps 2.5in
                                                           Hoi-plug Hard Orive,t:G
          IE\C   HT30Integrated RAID Controiter, lGB Cache
          Performance  BIOS Settings
          Dual, Hot-plug, Redundant power Supply (1+l),
                                                        750W
          2 X C13 to Ct4. pDU Style, t0 AMp;b.6m power
                                                          Cord
          PowerEdge Server FIPS TpM                                                                                                                                           C)
          Inte Ethernet ii5rl QP Gb N etwork Daughter
          Intel Ethernet I] 5 0
                                                      Card                                                                                                                    P
                                 G b Server

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                        PorverEdge R730/R7 3Oxd Motherboard
                        No Media Required
                        No Operating Sysrem
                        OpenManage Essentials, Server Configuration
                                                                    Management
                        Electronic System Documentation uriop"ntvtanage
                                                                          DVD Kit, powerEdge R730/xd
                        OEM Order
                        Nor Selected in this Configuration
                        Asset Service - System & shipbox Label (Model,
                                                                       Svc Tag, order krformation, Basic
                        Config Details)
                        |91$nals Sliding Rails With Cable Management Arm
                        RA'D 1+R{ID -5 f61H330/H730/H730p (2"t 3-22
                                                                        HDDs or SSDs)
                        Base Warranfv
                        lYr Parts Only Warranty (Emerging Only)
                        iNFo lYr Prosupport and Nextbusin"rs buy on-Site
                                                                            Service (Emerging only)
                        3Yr ProSuppsrt and Next Business Day On_dite
                                                                      Service (Emerging Only)
                        Consolidation Fee
                        EX-Works
                        PowerEdge R?30 Server
                                                  2.4GHz,r5M cache,8.00Gr/s                                     Dell   2    R730
                                                                                                                                   tro
                        ilfl il:J i#ffi};,                                       epr,rurb o,Hr,6c/tzr(85w)
                        R730/xd PCIe Riser 2, Center                                                                               *l*
                        R730 PCIe Riser 3, Left
                        R730/xd PCIe Riser 1, Right
                        PowerEdge R730 Shipping EMEA1
                        (English/French/German /Spanish.tRus sian /tlebrew
                                                                             )
                        Bezel
                        Chassis with up io 8, 3.5" Hard Drives
                        DIMM Blanks for System with 2 processors
                        Perform ance Crptim ize d
                        2.l33MT/s RDII{Ms
                        2 X 8Glf RD If\,[M, 2 J 3MT/s, Dual
                                                            Rank, x8 Data wi dth
                        2   Stancarc Heatsink for PowerEdge R 730/R73
                                                                      0xd
                        U pgrade to T 'l\o Intel Xeon E5-2620 v3 2.4G
                                                                     },lz, 5M Cache,8 .00G T/s                                     O
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         iDTdA C8 Enterprise, integrated D
                                           ell Remote Access Control ler, Enterprise
         2 X J OC'GB OK RPM SAS 6Gbps
                                             2 .5 in H,ot-plug I{ard Dri ve,3 .5 1n HYB CARR
         PERC H?30 Integrated RAID Controller,
                                                t GB Cache
         Performalce BIO S Settings
         DVD+/. RW, SAT,A, Intemal
         Dual, Hot-plug, Redundant power Supply (1+l),
                                                       750W
         Cl3 to C14, pDU Style, 10 AMp, 0.6m iower
                                                     cora
         European Power Cord 220V
         PowerEdge Server FIPS TpM
         Intel Ethernet i350 ep 1Gb Network Daughter
                                                     Card
         Intel Ethemet 1350 ep lGb Server adapti
         PowerEdge R73 0/R73 Oxd Motherboard
         No Media Required
         No Oprating System
         OpenManage Essentials, Server Configuration
                                                         Management
         Electronic System Documentatio,
         OEM Order                          -iop"r,lutanage DVD Ki! powerEdge R730/xd
         Not Selected in this Configuration
         Asset Service - System & shipbox Labei (Model,
         Config Details)
                                                          Svc Tag, order Information, Basic
                                                                                                                      F
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         |ea{Vna$ Sliding Raiis With Cabte Management Arm
         RAID I for H3304I730/H730P (2 HDDs or"SSDs)
                                                                                                                     *{-
         Base Warranty
         lYr Pars Only Warranty (Emerging Only)
                                                                                                                      b
                 11, ProSupporr an{Ne1t-Au1n.r, buy On_Sire Service
         ry,Fg                                                            (Emerging Only)
         3Yr ProSupport and Next Business Day On_dite
                                                           Service (Emerging OnIy)
         Consolidation Fee
         EX-Works

         PowerECge R730 Server
         lntel Xeon E5-2650 v3 2-3GHz,25M cache,9.60GT/s                                           Dell   2   R730
         Max Mem 2133MHz
         R730/xd PCIe Riser 2, Center
         R730 PCIe Riser 3, Left
                                                         epl,Turbo,HT,l0c/20T (105w)
                                                                                                                     6
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         R730/xd PCIe Riser I Ri
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        PowerEdge R730 Shipping EMEAI
        (English/French./Germar/Spanish,rRussian[Iebrew)                               I



        Bezel
        Chassis with up ro 8, 3.5,, Hard Drives
        DIMM Blanks for System with 2 processors
        Performance Optimized
        2l33MTis RDIIvIMs
        8 X 16GB RDIVIU,2133 MT/s, Dual Rank, x4 Data
                                                        Width
        2 X Standard Heatsink for powerEdge R730/R730xd
        upgrade to Two Intel Xeon E5-2650 v3 z.3GHz,25M cache,9.60GT/s
        QPI,Turbo,HT, 1 0C/20T ( I 05W)
        iDRACS Enterprise, integrated Deil Remote Access conboler, Enterprise
        VFlastr, 8GB SD Card for iDRAC Enterprise
        2 x 300cB 10K RPM sAS 6Gbps 2.5in Hor-plug
                                                       Hard Drive,3.5in HyB CARR
        PERC HT30lntegrated RAID Controller, IGB Cache
        Emulex LPE12002 Dual channel gGb pcle Host Bus Adapter,
                                                                    Low profile
        Performance BlOS Settings
        DVD+/-RW. S.4"TA, Internal
        Dual, Hot-plug. Redundant power Supply (l+l), 750W                                                                                        H
        C13 to Cl4. PDU Sryle, 10 AMp,0.6m Fower Cord                                                                                             V\
        PowerEdge Server FIPS TpM
        Intel Ethernet i350 Qp tGb Network Daughter Card
        Intel Ethernet 1350 eP 1Gb Server Adapter
        PowerEd ge R7l 0/R73 Oxd Motherboard
                                                                                                                                              -F
                                                                                                                                               5-
        No Media Required
        No Operating System
        Electronic system Documentation and openManage DVD Kit, powerEdge
                                                                                 R730ixd
        OEM OrCer
        Not SelecteJ in this Configuration
        Asset Service - S.v*stem & Shipbox Label (Model, Svc Tag,
                                                                  order Information, Basic
        Config Details)
        ReadyRails Sliding Rails With Cable Management Arm
        RAID i for H330,tI730/H730p (2 HDDs oiSSOry
                                                                                                                                              E
        Base Warranty
                                                                                                                                              \
         lYr Parts Onl w                      On

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           INFO lYr ProSupport and N ext Business
                                                  Day On-Site Service (Emerging Only
            Yr ProSupport ald Next Business Day On-Site
           _1                                                                        )
                                                        Service (Emerging Only)
           Consolidaticn F ee
           EX-Works

           PowerEdge K}'M lOglAD _ Bi Port
                                              Keyboard/Video/lr4ouse Analog Switch, EUCEM
           8x USB Sen.er Interface pod, includes 2                                           Deli    I        1081AD
                                                   CAT 5 Cables,
                                                               TAA


           1U KMI.,{ (Touchpad, US/Intemational
                                                Keyboard and Widescreen 1g.5,, LED) with
           ReadyRails - Ki1                                                                  Deil    I



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       Digi PortServer TS l6 port rackmounlable RJ-45 Serial to Ethemet
                                                                          Terminal Server         Digium             2     TS I6

       One (1) span digihl T1/Ei/JllpRI pCl-Express xl card
                                                                                                  Digium             2


       Cisco 2921
                                                                                                  Cisco              3      2921
       Cisco 2921 Securit_v Bundle w/SEC license pAK
       SMARTNET SX5XNBD Cisco 2921 Security
       Four port 1 Oi 10011 000 Ethemet switch interface card
       Cisco 2901-2921 IOS UNIVERSAL
       Data Paper PAK for Cisco 2901-2951
       Cisco 2921/2951 AC Power Supply
       Console Cable 6ft with RJ45 and DBSF
       Cisco Config Pro Express on Router Flash
       lnsert Packout - PI-MSE
       IP Base L.icense for Cisco 2gOl-ZgSl
       Blank faceplate for HWIC slot on Cisco ISR                                                                                                                       !n
       512M8 DRAM for Cisco ZgOt-Zg2t ISR (Default)
       256M8 Cornpact Ftash for Cisco 1900 2900 3900 ISR                                                                                                                \-
       Secnrity License for Cisco ZgOl-2951
       Blank facep_ate f.-:r DW slot on Cisco 2951 and,3925
       Removable faceplate for SM slot on Cisco 290039004400 ISR
                                                                                                                                                                        K
       Cisco 3750X
                                                                                                   Cisco             2   Cisco 3750X
       Catalyst 3750X 48 Port Data Ip Base
       SMARTNET SxsxNBD catalyst 3750x 4g port Data Ip Base for 36 Months
       Catalyst 3K-X 350W AC Secondary power Supply
       CAT 3750X IOS TINIVERSAL WITH WEB BASE DEV MGR
       Cisco StackWise 50CM Stacking Cable
       Catalyst 3750X and 3850 Stack power Cable 30 CM
       Catalyst 3K-X 10G Network Module
       Catalyst 3K-X 350W AC Power Supply                                                                                                                               D
       Insert Packout - PI-MSE                                                                                                                                          +
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                Catalysr 296Cr-X 48 GigE 4 x SFp LAN Base
                SMARTNET sx5xr{BD cat2960-x stk 24 GigE4xSFp                                                        Cisco                2       Cisco 2960-X
                                                                        LAN Base (36 Months)
                Insert Packout - PI-MSE

                Cinterion MC-< 5i l'zlodem
                                                                                                                   Cinterion             9             MC55i
                Optiplex 701D MT
                ' OptiPlex 7010 N{T: Mini-Tower                                                                      Dell                l5
                'Windows 8
                ' 3rd Gen Intel core ii417a (euad core,
                                                          3.40GHz Turbo, gMB, w/ HD4000 Graphics
                ' 8cB (2X4cB I td00 MHz DDR3 Non_ECC
                  yIf!+ (QWERTY) Dell KB2I2-B euietKey USB Keyboard Btack
                ' lTB 3.5inch Serial ATA IiI (7.200 Rpm)   I{ard Drive
                ' Dell optica- oiot wireress), Scroil use-1:
                                                             buttons scrolr) Brack Mouse
                ' I6XDVD+/-RW Drive
                  Internal Dell Business Audio Speaker
                 3Yr ProSupp.rrt and Next Business Day On_Site Service (Emerging
                                                                                          Only)
                Dell Professional p23 I 4H 5 g.4cm(23 ,') LED monitor vGA,DVI_D,Dp                                                                                                                        \^r
                                                                                                 ( 1 g20x t 0g0)     Dell
                BlackUK                                                                                                                  30


                APc NetShelter SX 42u Deep Enclosure 1200x600 with Roof
                                                                             and sides Black                         APC                 2    AR3300                                                      _p
                Rack PDU 2G. Metered , ZerorJ,32A,23OV, (36) C13
                                                                      & (6) Cl9                                      APC                 4    AP8853
                PDU cord Retention Kit for Full-Height & 4gu, Basic
                                                                    & LCD-Metered pDU (l per                         APC                 4    AP9569
                PDU

                Horizontal Cable Organizer lU w/brush strip
                                                                                                                                         10   AR8429
                CatT patch cord,0.5m,Blue
                                                                                                                                20
                CatT patch ccrd,lm,Blue
                                                                                                                                40
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                 CatT patch co:d,2m,Blue
                                                                                                                  60

                 Cat 7 patch cord,Sm,BLACK
                                                                                                                  20

                 Cat 7 patch cordl0m,Grey                                                                         10

                 48 port Cat 6 patch Panel HD Netkey
                                                                                                                  4

                 duplex patch cord,lOm - Patch cord Fiber OM3 LC LC 10m
                                                                                                                  10

                 Console Cable 6ft with RI45 and DBSF
                                                                                                                  2

                 Blank plate 1IJ(10 per pack total 4 packs)
                                                                                                                  40

                 Power Cord, Cl3 to Cl4, 5m
                                                                                                                  20

                 Fower Cord, C13 to C14, 3m
                                                                                                                  40
                                                                                                                                                                                          E
                 APC Smart-LPS SRT 5000VA RM 230V

                 APC Smar-LrPS SRT 5kVA Output FIW Kit
                                                                                                          APC

                                                                                                          APC
                                                                                                                           4

                                                                                                                           4
                                                                                                                                    SRT5KRMXLI

                                                                                                                                      SRTOOl
                                                                                                                                                                                            r
                 SRT001 Kit installation                                                                  APC              4

                 power cable   j meters for ups + Sicon 32A                                               APC              4

                 APC Smart-UPS SRT 192V 5kVA and 6kVA RM Batrerv pack                                     APC              4        SRTI92RMBP
                 Office Pro Plus 2013                                                                 Microsoft            15

                 VPP L3 VMrvare vSphere 5 Enterprise for I processor                                  Vmware      4 processors
                 Production Support/Subscription for VMware vSphere 5 Enterprise for 1 processor
                                                                                                                                                                                           C)
                  VPP L3 \\Iware vCenter Server 5 Standard for vSphere 5 (per Instance)               Vmware
                                                                                                                                                                                         __C\
                                                                                                                      1 Instances

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                     V eeam Backup &. Replication Enterpri SC for Vm ware
                                                                            and Hyper-   per Socket License   Veeam        6 Sockets
                     Microsoft windows Server 2012 R2 Standard Edition
                                                                            2 Socket License                  Microsoft.               2
                     MS SQL 2014 Serrer Standard core 2 socket License
                                                                                                              Microsoft                2
                     Nagios XI (Enterprise version with 100 Nodes
                                                                    license)                                  Nagios                   I




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                                                                               Consi.Gerations
                        Gousi d eratio li$ A}}toIfi ts.
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    fi                  i'System eonside ratloni'                   provision'of ttiq Licease, Systern ,&:00&060.(Siglt nil }ioq.
                                                                    arid, Seryj.ees.,
    fi
    ti                  '!Support Feriod                            &ay,ore Suppor{ Period,            , 22P/r   olthe System
                        Go-nsid€ration'r                                                                Coidderafion.
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lr                     EdlrlicBt Tetiiil
I                      System Consideratiou
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I                      The System Cons.ideratinori strall be paid by the End-USe'r to the Co.mpany in, tlrqg Q) insullm-errtS- aS:
                       follows:
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                               (a) 5070 of',*re Sptam Consideration,shzrli oe-paid o'y Janua4y-'2-8ur 2016 ({he "First Installment").
I
                               (b) 3"5910 of t'he S,ystern Considera,tion shall.bepaid uporr.the p. rnvision o,f the Hardware Eqrlipnrent to
                                   the Erd-Uset'ssile.
il                             (c) l5o/o of lhe System Consicleration shall be paid upon the provisiori: of a writteu notice by the
ir
                                   Company to the End.User confirrning thar the Deplotrnnent oF the Syptern at the End-Userrs site
                                   rvas c gmpl eted (thel'iC o m mlssi o n ing No ti cen).
         :


                       SUpporf qerjoi{ Considemtion

                       Thersupport P€fiod iconsidqrdtri:on sliall ba paid hi one.pa.vment, in advanc'e of each Support Period.




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i,LJ                                                                                     Exhibit.C
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!--;              i,.i                                                          Installation Requirements
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                  1-:              The End-User shall ensure that the following pre-requisites are ready 2 weeks prior to the System
-tr               1i               installation (aligaed to SW version).
        :
                                   Disclaimer: This tist may change per Network\Regulation\Systerr feature support changes'

        {
    .t




    I                              Internet Connection           2 symmetric A TM lines each 2 OMB (from 1          [2 lines a.e;;quired for
                                                                                                                     redundancy, The minimum
    !
    i
                  ri                                             different iSP's) with static IP' S of 8 external
                  lill                                        addresses                                              requirement might be even
                                                                                                                     lower - depends on the
            (-
    :
                                                                                                                     number and type of    end
                  fi                                                                                                 stations.
                                                                                                                                                   ]


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                  li               Cellular Reception         Stable Cellular Reception                             --95 db
                                   Air Condition              18 Degrees                                            None
                                                             4 power socket -220Y                                   Server room and
                  ij               Electricity
                                                                                                                    operational room drawings
    I                                                                                                               are required to accuratelY
                  it                                                                                                specifl a1l wall outlets
                  il                                                                                                location. Power generator
                                                                                                                    and Faciliry environment
                  ll                                                                                                against hazard ddngers are
                  iitl                                                                                              ootional
                                   Area needed for           5X5M, Height 2.5 M                                     There are 2 48U racks with
                                   seryer room                                                                      the following dimensions:
                 i1                                                                                                 Height 2258.00 mm,
                                                                                                                    Width 600.00 mm, DePth

                 l                 Area needed for
                                   operator room
                                                             l0Xl0M, Fleight2.5 M
                                                                                                                    1070.00 mm
                                                                                                                    Can be
                                                                                                                    S        rooms
                                                                                                                                    into


                                   Patch panel               Depends on the number of stationary stations.
                 .t                                          Wires from the end stations to the patch panel in
                                                             the rack
                                   SIMs                      2 SIM cards for each network                           It is mandatory to use a 3rd
                                                                                                                    party to order the SIMs ,
                 il                                                                                                 also use a          account
                                   Security                  Lockable doors
                                                             1 X named credit card with 4000$ balance               It is recommended to use a
                 it                Untraceable
                                   payment method            1   X Passport scan on the same name as a credit       3rd party, The PassPort,
                                                             card                                                   credit card and utilitY bill
                                                             1 X Prepaid no name local SIM card                     should not be related to the
                 rl                                          f X Utility bill with address on the same name as      organization
                                                                       rt

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li                           l
                                                                                           Exhibit D
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                    ]I                                                              Service Level Agreement
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                   :l),)                    1.     Introduction
         i
-t                 jl                               This Service Level Agreement (the 'SLA') is an agreement between NSO Group Technologies
                   ilrl                             Ltd, (hereinafter the "Compatry") and Infralok Development Limited (hereinafter the
         i
                                                    "Reseller").
     .J
         :1        rl
                   i/
                                                    The purpose of this SLA is to specify the services and commitments with respect to the
                   i1
                   il                               software technical support, location support and/or hardware replacement services for the
-1                                                  purchased products.
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 i                 il
_1                 it
                   !l
                                            1.1     Objecfives of the Service Level Agreement
                   ti
     :1
                 -t                                 To create an environment which is conducive to a co-operative and productive relationship
         ,
              .ilil                                 between the Company, t}te End User, and the Reseller to ensure effective support for the End
                                                    User.

                                                    To document the responsibilities of all the parties involved in the SLA'
     t
               i1
                                                    To ensure the Company provides high qualiry seryice to the Reseller and the End User,
               i_)
               iill                                 To define the service to be delivered by the Company and the level of service whicb can be
               it                                   expected by the End User, thereby reducing the risk of misunderstandings'

     :
               il                                  To institute a formal system of objective service level monitoring ensuring that reviews of the
               {i                                  SLA are based on factual data.

                                                   To provide a common understanding of service requirements/capabilities and of the principals

               il                                  involved in the measurement of service levels.

                                                   To provide for all parties to this SLA a single, easily referenced document, which caters for all
                                                   objectives as listed above.
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                                                            2                      Definitions

                                 l-i                                           Ilardware Replacement means a HW replacement service for the hardware products purchased
            il               il
                             ii
                                                                               by &e Reseller from the Company, whereby the Company delivers a replacement to the End
                                                                               User's site before the End IJser retums the faulty hardware.
                             ll
        11                                                                     All Hardware Replacements shall take effect after the Company receives relevant alerts and all
                                                                               required information, and determines that the hardware issue is related to a malfunction of one of
        U
                             itti                                              the hardware components.
                             i.t
        fl                                                                     Business Day means a normal working day in the time zone where the End User is located.
        li                  il
                            Ir
                                                                              Device Number means a unique identifier of a hardware device, which can be located on a label
                            l.i                                               on a Hardware product:

        ll iiri                                                                     r    Media Access Control (MAC) Address,
        t-
           il
                                                                                   ,     Serial Number (SA{),
                            ti

    f                                                                              '     Service Tag Number (STN)

    t
                                                                                   '     Internationai Mobile Station Equipment Identity (IMEI)
                           tl                                               Documentation means the User and Technical manrids provided by the Company for use with
                                                                            the purchased software and hardware products.
    il
    i                                                                       Enhancement means ali software changes, including new releases, new versions, product
    t-
                           il                                               improvements, system modifications, updates, upgrades and service packs.
    tt
    I                                                                      Error means an error in one or more of the Company's products, which degrades the product
    i:                     l'l                                             functionality in accordance with the Severity defmitions, as compared to the product
    (..                    ll
                                                                           functionality and performance specifications described in the official user guides provided by the
                                                                           Company.
                           ii
             l



                                                                          Hardware means a computing device md/or its component with a specific function and limited
                                                                          configuration ability. The Hardware is sold by the Company to the Reseller for the sole purpose
!'li                                                                      of executing the specific Sofrware producUs supplied with it.
t_                         il                                             Information means any idea, data and program, technical, business or other intangible
                                                                          information, howeyer conveyed.
(
I

ir                     il                                                Problem Resolufion means the use of reasonable commercial efforts to resolve the reported
                                                                         problem. These methods may include, but are not limited to: configuration changes, patches that
        I                                                                fix an issue, replacing a failed hardware component, reinstalling the software, etc.
1i
l;
lt
                       il                                                Force Majeure has the meaning ascribed to it in the Agreement between the parties.
                                                                        Response means addressing the initial request and commencement of work pertaining to the

                       i                                                issue.

                                                                        Response Time means the amount of time elapsed between the initial contact by the Reseller or
                                                                       the End User with the Company's Technical Support Team and the returned response to the
                                                                       Reseller or the End User by the Company's support staff.
                       it
                                                                       Resolution Time means the amount of time elapsed between the initial contact by the Reseller
                                                                       or the End User with the Company's Technical Support Team till the issue reported is resolyed
                      il                                               wither by permanent fix or a workaround till a permanent fix would be available.
                                                                      Security Code means a specific code dedicated to the End User's account in the Company's
                                                                      'l'echnical Sr.rpport Center.'l'his code must be provided hy the EnrlTIser eaclr tirne the End User
                      T                                               up;rruuchcri the Colrrpuny's support staff.

                                                                      Support means the technical Support and Hardware replacement services provirlerl hy r.he
                      i                                               Company to the End User as set forth in this SLA.




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                      ii                               Agreement 10012015                                         Page 35 of   46                                           LJ (
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l:
t--i                                      Support case means a single issue opened in the Company's Case Management System. The
                   i;        '
                                          case number identifies the Service Request.
rl
I1                                        Field Service Engineer means an engineer that provides the following onsite services:
IiLf                                      installation, field configuration, operates system to demonstrate equipment on test devices and to
                   i.
                   I                      analyze malfunctions, interprets rnaintenance manuals, schematics, and diagrams, and repairs
tt                                        electronic equipment, such as computer, computing device or component, utilizing knowledge of
lit'
LJ
                                          electronics and using standard test instruments and hand tools.
                                          System means the Hardware, Software and Documentation that have been provided to the
rI                                        Reseller and/or the End User by the Company.
il       1
                  i:                     Workaround means a change in the followed procedures or data to avoid error rvithout
                  Ji
                  ,j                     substantialiy impairing use of the product.
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t,                 .).
                              3            Company's Obligations

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                                  3.1.      Maintenance and Support
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                                          The Services shall include wuranty, support and maintenance of the System as further detailed
!t
                                          below, via support center.
il
il                                        The Company shall provide the End User with technical support for the System, consisting of:

r-i
                  ij                      (a) first level to fourth level ("Tierl to Tier4" as described in section 6.2) support via the
                                          Company's support center, and (b) SW updates and SW upgrades of the System, which, for the
ti
ti
il
                                          avoidance of any doubt, shali not be specifically adjusted to comply with any End-User
                                          Adjustments (as such term is defined in the Agreement which this SLA is attached to). The
                  ii                      Services shall only be provided to the End User
it i                                      System support and maintenance covers both SW and HW provided by the company. In case of
     i
                  i1                      3rd party HW supplier, the company will contact the 3rd parly and ensure proper suppott
                                          provided to the End User.
                                         Maintenance will cover the following:
                                                 a. SW upgrades - periodical SW releases to add new features and bug fix'es. Installing
                                                    a new SW upgrade is communicated in advance to schedule the best time for the
     l

                 il                                 end-user and minimize the system downtime
                                                 b. SW updates - special SW packages provided to fix specific critical bug outside the
     1

     I
                                                    periodical SW release. SW updates are also provided when a new OS version is
                 ['J                                 infroduced for a specific platform (e.g new iOS version).
                                                 c, MoUilqftng system - connected to our 2417 NOC room and monitored around the
                                                     clock. The monitoring system is configured to do the following:
                 il                                      a.  Connected to all the major HW components in the system, providing real-
                                                           time status of the system
                                                        b. Monitors SW components such as tunnels, VPS servers alerting when any
                 il                                           component goes down
                                                        c.    Checks for white accounts balances and alefts when it is below a predefined
                                                              threshold
                 i.l
                                                    For further details, see the enclosed "system monitoring capabilities and
I




             i                                      requirements" appendix.
                                                d. 24/7 sapport - A dedicated NOC center is operated to provide 24/7 support Tickets
                                                    can be submitted via phone call, dedicated website or email. The NOC
                                                    representatives foilow our support procedures to ensure each ticket is being handled
             it                                     according to the SLA.

                                     End user should report issues with the system, using an agreed form or tool specifuing ali
         ri                          predefined data and providing all the required operational and technjcal information

                                     The Company shall not be obligated to provide the Services in case of misuse, abuse, neglect,
                                     alteration, modification, improper installation of the System, use of the System for purposes
         il                          other than those authorizedby the Company, or repairs by anyone other than the Company or its
                                     authorized representatives without the Cornpany prior written approval. The Company shall not
                                     be ultligal,ed lo pnrvirle Llre Services irr corrrrecl,iorr rvil,lt [ltc l-']trd-lJser Adjustniettts.
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                             3.2.        Software Support

         I                               For End Users covered under a valid Support offering, Software Support will be provided
                                         pursuant to the terms of Section 6 "software Support Procedure". The scope of commitment


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                             Agreement 10012015                               Page37 of46                                                    tJ f
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                                                 in case ofSystem failure requiring a software repair or fix is to preserve the System at the fully
L                   ,\]                          functional condition as per the acceptance data ofthe System by the End User.
                    l.:
r-1                                             Software fixes are generally delivered in a secure format, delivered by the Company or in
ti                                              special occasions by the Reseller and/or the End User or third parfy partner if it is agreed for a
                    ,i
                    Il                          particular case. In addition, permanent fixes are developed for known non-critical issues. These
                    i.l
                                                are incorporated into service pack updates that are periodically distributed. The version updates
                                                may include additional features, bug fixes and/ or services.
tj                  ,i
                    iit-l
                                                The Company agrees to provide Suppor! where appropriate to the End User, which may
                    t.r
                                                include but is not limited to, the following actions:
iili                ,.1                         (a) Provide the End User with access to product update releases and related Documentation,
t-l             ilI'l                           upon general commercial release.
ti                                              (b) Provide the End User with access to Technical Support Team representatives, who will
t1                                              work with the End User to diagrrose issues, ald provide Problem Resolutions, including
                li
                I
                                                escalating the issue as needed.
     ?
     l   {'' l.ti l                    3.3.     HardwareReplacement
     I          ti
                LI
                                                For End lJsers covered under a valid Support offering, the Company will use commercially
     l
               rl
               i1
                                               reasonable efforts to provide Hardware replacement in accordance with the terms set forth in
                                                Section 5 "Hardware Replacement Procedure". Provision of hardware Replacement is
     i
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               tl
               )')
                                               subject to the following limitations:
               il                              (a) The Company will provide Hardware Replacement for up to three (3) years after hardware
               llil
               ii                              installation at the End User's Site or according to standard Hardware in case of a 3'o party
                                               supplier.
               :l                              (b) Hardware shall be repaired or replaced with same or similar products when needed, at the
               lt                              Company's discretion.

               itil                   3.4.     On-site Hardware Support
               il
                                               For End Users covered under a valid Support offering, upon the End User's request, after the
               i'l                             Company determines that the hardware issue is related to a malfunction of one of the hardware
              i.l
               |.l                             components, the Company will decide whether to dispatch a representative to the site'

              i'i
              il
              it                               Provision of ou-site support is subject to the following limitations:
              II
                                              (a) On-site Hardware Support does not include on-site service for Software troubleshooting or
                                              any Software or training related issues,
              il                              (b) On-site Hardware Support service may not dispatch a representative on-site to perform
                                              Hardware replacement outside of the End User's Site address for the Hardware,

              it                              (c) On-site service response times may be dependent upon the End User's Site address for the
                                              Hardware, the timely arrival of replacement parts at the End Uset's Site, and accessibility to the
                                              Site.
              it
              it                     3.5      On-site Software Support

                                              On-site Sollware Support applies only in cases of Severity I issues rvhich can't be solved
              Il                              remotely (based on the Company's customer support stat'f .iudgmcnt). After the Company
                                              r:onfinns lhal lhe nral,ter is a Scvcrily I issue, tlte Contpatty and the End User will work
                                              diligently, with highly skilled engineers to resolve the critisal situation artd to restore operation'
              tl


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I                                    Agreement 100/2015                            Page 38 of46                                                        LJ'
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                                Case 4:19-cv-07123-PJH Document 1-1 Filed 10/29/19 Page 105 of 111
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tj              )
                                         ln case the criticality of the issue remains or no progress is made, the Company will decide
                                         whether to dispatch a representatiye to the End User's Site or use a partner Support
                                         representative.
rp
ti                              3.6.     Exclusions
               i.,
r.l                                     Support does not include the following items or actions:
i,
               r .i
L-t
               l.l                      (a) Step-by-step installation of Software or Service Packs.
               i.i                      (b) On-site services (outside the ones described in this SLA), Professional Services, Managed
''l
              1l                        Services, or Educational Services.
-i            illi                      (c) Modification of software code, IT Network architecture changes, Security-policy
              li
                                        configuration, Audits, or Security design.
I                                       The Company shall have no obligation to Support:
-)
              il                        (a) An altered, damaged, or modified product or any portion of the product incorporated with or
                                        into other software, hardware, or products not specifically approved in advance in writing by
     I

     I
          'l'i                          the Company.
                                       (b) Product problems caused by the Resell6r's and,ior the End User's negligence, misuse,
     i
                                       misapplication, or use of the product in a way other than as specified in the System user
     I
                                       manual, or any other causes beyond the control of the Company.
     I
     ?        il                       (c) Product installed on any computer hardware that is not supported by the Company.
 il           r"l                      (d) Product not purchased from the Company.

 l            il                       (e) Products subjected to unusual physical or electrical stress, misuse, negligence or accident,
                                       or used in ultra-hazardous activities,
-l
                                       The Company shall have no obligation to Support the End User if:
 l        it
                                       (a) Appropriate payment for Support has not been received by the Company and the Reseller
                                       anilor the End User is unable to show reasonable proof of such payment; or
'r


          il                           (b) The End User's annual Support term has expired without renewal.



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    U
        r                                  5,    Hardware Replacement Procedure

                                                  The Company uses equipment from Ieading vendors, surveillance, network seryers and software
                                                  remedies. With each manufacturer, the Company has a contract for Service and Customer
tr                             ri                 technical support.

                                                  For End Users covered under a valid Suppori offering, the Company will provide the
f;                         i.t                    foll owing Hardware Support :
                           il
                                                   (a) The Company will atlempt to diagnose and resolve Hardware problems over tle phone or via
                                                  remote access. Upon determination that an issue is related to a malfirnction of one of the
il !iilil                                         Hardware components, the Hardware Replacement process will be initiated by the Company.
                                                  (b) The Company will either issue a replacement for the faulty part or a full Hardware product
                                                  replacement.
tj                        t1                      (c) The Company will send the required hardware to the End lJser's Site location within thirty
                                                  (30) business days of Hardware Replacement process initiation. The time to ship the required
I                    rF i
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                                                  hardware is dependent also on the export procedures that the Company must comply with, as
                          il                      well as the import procedures on the End User's side.

                          'l
                                                  (d) The End User must ship back the faulty Hardware product (or replaceable unit) suitably
                I         iltl                    packaged, as specified by the Company in a letter shipped with the replacement, to a location
                                                  designated by the Company.
                                                  (e) Return shipment of the faulty Hardware should be made within five (5) business days of the
                l

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                          li
                          II                      arival of the replacement. Transportation costs forreturn shipment shall be bome by the End
                                                 User.
                                                 (f) Transportation costs incurred in connection with the delivery of a repaired or replacement
                          rl
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                          lt                     item to the End User by the Company shall be borne by the Company; provided, however. that
                                                 if the Company determines, in its sole discretion, that the allegedly defective item is not covered
                                                 by the terms and conditions of the Hardware Support described in this SLA or that a claim is
            l         il                         made after the Hardware Support period expired, tie cost of the repair or replacement by the
                                                 Company, including all shipping expsnses, shall be reimbursed by the End User.
                                                 (g) The Company shall have no obligation to Support and Replace Hardware not monitored by
            I         il                         Monitoring Client installed on the System and connected to the Company's Technical Support
                                                 Center.
    !

                      itt1                       The Company shall have no obligation to Support:
                                                 (a) An altered, damaged, or modified product or any portion of the product incorporated with or


                     i                           into other software, hardware, or products not specifically approved in writing by the Company.
                                                (b) Product problems caused by the End User's negligence, misuse, misapplication, or use of the
                                                product other than as specitied in the System user manual, or any other causes beyond the
                     T                          control of the Company.
                     rl                         (c) Products subjected to unusual physical or electrical stress, misuse, negligence or accident, or
                                                used in ultra-hazardous activities.
                     ll
                                                (d) Untrained personnel from the End User are operating the system.
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                                        6.'    SoftwareSupportProcedure
                      l',
                                                (a) Upon initiation of initial contact with the Company's Technical Support Center, the End User
-I      I
                                                must authenticate its identity by providing a valid Security Code. The Company shall have no
     {
J                    ,I
                     ti                         obligation to provide Support if the End User does not provide the code.
                     ir
                     il                         (b) A Technical Support representative will validate the Security Code and start gathering
-'t
                                                details relevant to the question or issue. The Company shall have no obligation to provide
        l
)    I
                                                Support services if the End User does not provide the relevant informarion.
                                                (c) A unique Support Case number [Trouble Ticket] will be assigned and delivered to the End
-1
     I                                          User either verbally or via email. This nurnber will be used to track any given issue from initial
     I            tl                            contact to final Problem Resolution.
J
                  il                            (d) lf appropiate, an issue will be reproduced in the Company's labs. Additional testing and
                                                problem duptication may take place in a nelwork laboratory environment. Further investigation,
I                 t"i                            including additional troubleshooting or debugging activity may be required. Based on the results
    {
                  il                             of the TestLab investigation, anissue may be resolved, or, if an anomaly is identifie4 elevated
                                                 to the appropriatc Company's Team for final Problem Resolution.
            '1.
             li
                i                                (e) The Company agrees to use commercially reasonable efforts to work with the End User on
                 l-i                            Problem Resolution for an issue in accordance with the specifications bf this SLA. Timely
    ,i
                                                efforts must be made by all parties involved. If communication from the End User ceases
    l
    )
                                                without notice, after five (5) business days, the Company may, upon notice, close a Support Case
    I
                 ii                             due to inactivity on the part of the End User.
                                                (I) The End User agrees to grant access via dedicated secured VPN tunnel, upon receiving a
                                                request from the Company for addressing issues reported by the End User. Thus, the Company
                 it
                 rl                             will have access to the System for a limited period of time in order to reach Problem Resolution.
                                               The Cornpany shall haye no obligation to provide Support services if the End User does not
                                               provide the VPN connection to the System.
    I
    J
                 ili1                          (g) The End User agrees to grant access via dedicated secured VPN tunnel, upon the Company's
                                               request, for the purpose of Software updates and upgrades or for fixing problems detected during
                 ,-i                           the system operation. Thus, the Company will have access to the System for a limited period of
             ii                                time in order to update/upgrade the System. The Company shall have no obligation to apply any
                                               updates/upgrades if the End User does not provide the VPN connection to the System.

             i-l                               (h) The Company shall have no obligation to provide Support services if Internet access / 3G
             il                                issues occur at the End User's Site.

                                               Exceptions:
             I

            i.
                                               In some cases, the Company may not be able to resolve the issue until the access network is
                                              stable (for example when the service provider installs firewalls over a period of time or there is a
                                              poor 3G coverage or poor Intemet access). In these cases, the Problem Resolution period will be
                                              paused until the nefwork is stable again.
            il
                                              Opening a support      reeardins authentication of an inbound roamer identitv. wili require the
                                              customer to provide a valid (activated) IMSI and MSISDN of the specific MNO from the
            il                                specific country.

                                              lVote.' System will present targets'information onJy if such information is available, based on
            i-i                                global roaming agreements. SAI (Send Authentication Info) and MSISDN by IMSI, information
            ll
                                               may not be retrieved iftarget is hosted by an operator that blocks such queries or in lack of
                                               roaming agreements with the telecom gateway,

            il                                Technical Support Center:
                                              !'or End Users covered under a valid Support offering, the Company will provide the following
            t]                                Software Support:



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      i                                                                                                                            support
                                     (a) The company will provide the End user with access to the company's Technical
  )i                                 Center 24 hours a day,7 days a week, 365 days a year'
 il                                  (b) The company will provide the End user with assistance in operating, managing
                                                                                                                                       and

                                     configuring the System as well as resolving any Software technical issues.
                                                                                                                       email, and
                                     (c) The End User is able to submit an unlimited number of support cases by phone,
                                     web (Case Management SYstem)'

 ,.1
 ll                6.1                Support Levels and Support Level activities:

                                      Tier 1 support - Technical support that is provided by an_Engineer trained by the company'
                                      Support activitie, at this levei'should include basic software and hardware
                                                                                                                      installations'
 il
 !l                                   upgrades, basic troubleshooting, configuration changes andlor operation
                                                                                                                  optimization'
 l,
                                                                                                                                   support
                                      Tier 2 Support - Technical support level that is provided by a Field Service Engineer'
                                      activities ut tfrls level should include all Tier 1 activities, customization management,
 il                                   configuration changes and diagnostics or advanced troubleshooting.
                                                                                                                                Specialist'
                                      Tier 3 Support - Technical support level that is provided by a Technical Support
'ii                                   Support activities at this .leve1 s'htuld include all Tier 1 and
                                                                                                   at
                                                                                                       Tier
                                                                                                      R&D
                                                                                                            2 activities,
                                                                                                            level' This
                                                                                                                          in-dentl
                                                                                                                          level of
                                                                                                                                   System
                                                                                                                                   support
                                      instructions, advanced diagnostics, and troubleshooting
                                      shall be initiated by a request to the System Support Team'
i-l
il                                    Activities:
                                     (a) Providing initial client contact
 lil                                 (b) Establishing problem logs and tracking
                                     (c) Providing "how to" support
a-t                                  (d) Determining if an issue is documented
l:
ii                                   (e) Maintaining confi guration knowledge
                                     (f) Working with the End User to duplicate and reproduce problems
                                     (g) Providing intemal problem determination and verification
                                     (h) Performing remote diagnosis
                                     Tier 4 Support - Technical suppori level that is provided by an R&D Engineer'
                                                                                                                                  Support
                                                                                                                      software R&D
                                     activities at this level should inciude design level consultation and solutions,
11                                                                                                                This level support
                                     diagnostics, and high level of software and hardware fixes and solutions'
                                     shall Ue initiated by a request to the Technical Support Team'
 !i                                  Activities:
                                     (a) Isolating, tracking and fixing operational issues
                                     (b) working with the End user to duplicate and reproduce problems
 i-l
                                     (c) Technical evaluation and allocation of defect reports within R&D
                                     (d) Providing system fxes if and when deemed necessary
lt                                   (e) Performing remote diagnosis
                                     (f) System upgrades
n
 ll              6.2.                Severity Levels

                                     Severity Level 1 - Critical Business Impact: Complete System failure
                                                                                                                      in which no field
n                                    p.".a*. resolves the reported issue, A problem has made a critical application fitnction
                                     unusable or unavailable and no workaround exists'
                                                                                                                work, but is prodrrcing
                                     scvcrity Lcvcl 2 - scrious Busincss Impact: The System is able to
l1                                   ,r*1r. *.ru., i1 uurtaitr t'uqucsl.s surrt. A problulrr Lus trtudu u uriticul upplication function
                                     unusabie or unavailable but a workaround exists'


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             \,,                        Severify Level 3 - Minor Busiress Impact: The system has problems, which do not affect its
             ir                         main functions. A problem has diminished critical or important application functionality or
             I]
             L_;                        performance but the functionaliry still performs as specified in the user documentation.
    ,

             il                         (a) For Severity Level 1: the Company's System Support Team and the End User agree to
             tiLl                       dedicate fuil tirne and all t}le necessary resources to solve the case. Top prioriry is to
             l'1
                                        restore/improve service, not to debug the problem.
    l

                                       (b) For Severity Level 2 and 3: the Company's System Support Team and the End User agree
                                       to use their technical resources in order to restore an acceptable level of service or bring
                                       relevant information
             I'
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             iii.   r

                              6.3.     Contacting the Technical Support Center

J
                                     Seryice Availability: The services of the helpdesk shall be available by way of CRM tool, email,
                                     telephone at all times 24 hours a day,7 days a week.
    I
I                                    Report of System failure: The End User shall notify the Company in writing (via e-mail or
                                     CRM tool) using the "Customer Support Ticket" form, or by telephone promptly following the
                                     discovery of any verifiable and reproducibte failure of the System. Thjs SLAdoes not apply to
                                     bug reports or feature requests that are cosmetic or do not otherwise impair the operation of the
         lii.r                       System. Such bugs reports or feature requests are fypically prioritized for handling in some
                                     future regularly scheduled product release.
                             Email Support
l
         i-l
         ii
                             The Company's Technical Support Center responds to all support requests sent via email. Generally, this
                             is used ai a backup in case the End User is unable to access the Case Management System. Email:
                             he lpdesk@slobalhel p.support
         il
         j-,l
         tl                  Telephoue Support
         il                  The Company's support engineers are available by telephone to receive support requests.
                             Phone: +.4440-36954\An
         il
                             Skype
         i'l                NOC-HelpDesk


        rl                  Contact Support via the web portal
                            The end user can also open a ticket to the Company's Technical Support Center via a dedicated web
                            portal that is connected to a CRM tool. Access is secured with a usemame and password which the
        rl                  Company will provide.



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                            6.4.     Response Time and Resource Commitment
        rl
                                     Severity 1
                                 (a) Response'I'ime: I hour
        li                       (b) Commitrucnt - thc Company and the Und User lvill commit tho nccousury resources arouad the
                                     clock for Probleur Resolution to obtain workaround or reducc thc scverity. Top priority is to

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                t                                              restore/improve service, not to debug the problem. If a workaround could not be provided, the
 i-;                )
                            i                                  task wili be transferred to Supplier's R&D Tearn for further investigation.
                        I

                                                               Severify 2
il
t-J                     I           I                      (a) Response Time - t hour
                        I           i
                                    l                      (b) Commitment - the Company and the End User will commit the necessary resources during
                                                              normal business hours for Problem Resolution to obtain workaround or reduce the severity.
tlti                    :.:i
                        ,.I                                   Top priority is to restore/improve service, not to debug the problem.
                                                              Severity 3
                    i                                      (a) Response Time - 4 hours
IJ                                                         (b) Commitnent - the Company's Technical Support Team and the End User agree to use their
                    I
                                                              technical resources during normal business hours for Problem Resolution to obtain workaround
                                                              or reduce the severity. Top priority is to restore an acceptable level ofservice or bring relevant
il                                                            information.
                                                              NOTE: In case of Hardware problerns, the faulty parts will be shipped and time for shipment
[,                                                            will be defined for each specific case. In case of severe software problems, the time for
L,               1              L
                                                              resolution will be defined on a case-by-case basis. The Company will use commercially
                                                              reasonable efforts to provide Hardware replacement in accordance with the terms set forth in
ll                                                            Section 5 "Ifardware Replacement Procedure".
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i               a'!

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                                                    6.5.      Resolution Time and Resource Commitment


:ii                                                          Severity 1
                                                        (a) Resolution Time: 2 business days
                                                        (b) Commitment - the Company and the End User will commit the necessary resources around the
                ii                                          clock for Problem Resolulion to obtain workaround or reduce the severity. Top priority is to
                ti                                           restore/improve service.
     .;']                                                    Severify 2
                ij                                      (a) Resolution Time - l0 business days
                                                        (b) Commitment - the Company and the End User will commit the necessary resources during
                i'l                                          normal business hours for Problem Resolution to obtain workaround or reduce the severity.
             rl                                              Top priority is to restore/improve service.
     .,
                                                             Severity 3
                                                        (c) Resolution Time - the 2"d scheduled SW release
            I


            i


                                                        (d) Commitment - the Company's Technical Support Team and the End User aglee to use their
                                                            technical resources during normal business hours for Problem Resolution to resolve the issue in
            il                                              the next scheduled SW release. This will be communic ated by the Company to the End user.



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                                           \     l.      Clarifications
                  li,
             l                                              r
         I
                              i.                                   The System willextract target 3G keys only if such information is available, based on global
 I                                                                 roaming agreements. This information may not be rekieved if the target is hosted by an
I                             'l                                   operator that blocks such queries or in lack of roaming agreements with the telecom gateway
                                       i


     I                                                      I      The System will not extuact targets 3G keys from and in specific countries such as the USA
        ;
                                   l
                                   I
                                                                   and Israel.
                          t.
                          I


                                                         .        The installation of the system may involve the deployment of a dedicated SS7 telecom
     i
     1                I'                                           gateway at one or more of the mobile operators in tie country. The End User shall be
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                                                                  responsible for providing access and permissions to the sites where the equipment is to be
 f
                                                                  installed, including the allocation of necessary space, power and ventilation required for the
  jI
  !                                                               installation of the equipment.
                      ti
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.J
                                                        .         In case of a cloud-based implementation, i.e., no S57 gateway implemented at a local telecom
                                                                  operator, billing records of targets may be affected and interception of incoming SMS will be
j                     t                                         , restricted.
                                                        .        Operating-wise, it is recommended that system queries be used with caution and on highty
 :
 j                                                               important cases, this in order to minimize risk of exceeding acceptable threshold in the
                   II                                            foreign network for such activity.
                                                 The Company reserye the right to end the System's life upon a six months prior notice, with effect not
 i                 il                            before the lapse of 5 (five) years of a sale of a license to the System to the Reseller and/or the End User,
                                                 Operation of the System during its life period is conditioned upon timely and fuli payment of
                                                 maintenance and support fees during the entire period.
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